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Case 1:18-cv-08208-VSB

 

United States District Court
Southern District of New York

Jessica VWrobleski,
Plaintiff, Pro Se 18-cv-08208-VSB

-against- Motion of Opposition

Little Fiower Children and Family Services,

Sheila Johnson, Barbara Simon, New York City,
A..S. Commissioner David Hansell, David Usdan
Respondents.

 

1, Jessica Wrobleski, being duly sworn, deposes and says:
1. That | am the plaintiff in the above-captioned case.

2. inthis motion | am answering to multiple parties in the above-captioned case matier,
who have submitted replies and motions for dismissal.

A. in Response to Keisha Malphur, Marcia Conyers, Hyacinth Tyson-King’s sworn
Affidavits

1. Keisha Malphurs was assigned as case planning supervisor from 10-2013 until 12-2015, but
then attended to the case in 2019 until present as Director over the supervision and case
planning of the case matter of the subject child in the family court system foster system case
matter.

2. The Bellevue file has been on the case record of the Family Court proceeding that is a
subject of this case, and was made available to the case parties’ and their lawyers.

3. The Bellevue record and case lawyers to their privy parties represented that at intake this
plaintiff went to Bellevue Hospital with alleged mental health related issues that included:
suicidal ideation, psychosis, and self-reported schizophrenia and bipolar.

4. The Bellevue record also indicates that this plaintiff said such was not true and sought fo be
court ordered released by Mental hygiene Legal Services, that plaintiff was 37 weeks pregnant
and due to give birth, that the hearing for this plaintiff's release was not scheduled for
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approximately 2 weeks where plaintiff withdrew because plaintiff had to give birth. This plaintiff
was with pregnancy complications at Bellevue Hospital that additionally required me to stay
because of severe iron deficiency anemia that resolved with a blood transfusion scheduled for
after delivery that was induced on my due date as planned and coordinated by Bellevue
Hospital staff with this plaintiff during involuntary hold. Ultimately the situation worked out and
the court hearing for release was disrupted by the need to give birth.

5. That while on the involuntary hold for 15 days this plaintiff was not prescribed any psychiatric
medication except as is procedurally assigned to every patient put on an involuntary hold; a
chemical restraint drug that was deemed per agitation on the record and was deemed safe to
use in the gestation of pregnancy that | was at. BUT was never used on me because } did not
warrant such to be used, | did not commit acts of violence towards staff or have a psychotic
break requiring such drug to be used on me as is typical in psychiatric wards.

6. That while admitted for a 15 day involuntary hold at Bellevue and per Bellevue’s record
contents, this plaintiff had no incidents or episodes of mental illness, was deemed to be fully
cooperative, worked with the social worker staff to safe discharge planning, and was noted by
the consistent, assigned psychiatrist to have displayed no psychosis or affective condition.

7. The upon transfer to the maternity ward and psychiatry per that area, there was no
documented incidents or episodes of mental illness in the very detailed frequently tended to
Bellevue record, that it was noted that this plaintiff was making good, sound, understanding
medical decisions for self and baby, was fully attentive and good in the care of her baby, was
extremely upset at ACS being called and their decision because of them not liking the plaintiffs
anger and upset demeanor and that aside from the newly assigned psychiatrist who was the
subject of ihe amended petition, stated that he was opposed to this plaintiff leaving with her
child and opined diagnoses that he later recanted on 10-2014 trial record in cross-exam by Gary
Schults.

8. The petition for removal issued by ACS stated to remove my child because i self reported
schizophrenia and bipolar; thereafter, the court had the entire Bellevue record that ACS had
access to its contents and still decided to amend using the maternity ward psychiatrist and with
complete disregard for the assigned psychiatrist to the 15- day psyche ward daily observations.

9. Various reports from Little Flower Children and Family Services repeatedly cited that the
subject-child was removed because Ms. Wrobleski went to Bellevue and self-reported
schizophrenia and bipolar.

10. The Permanency Hearing reports issued mostly by Sheila Johnson stated that this plaintiff
has schizophrenia, depression, bipolar, and anger problems, which | declare is false information
because no mental health service provider on or off the case diagnosed that.
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11. Sheila Johnson was informed as was Hyacinth Tyson-King and various other staff that no
mental health service provider diagnosed that. Reference EXHIBIT A. 2016 emails;
exchanges, and EXHIBIT B all 2019 emails, exchanges, reports etc {including FTC report)
from post-release 9-4-2019 until after TPR conclusion 1-29-2020.

12. Sheila Johnson's actions of putting that diagnosis in the Permanency Hearing reports had
adversely affected my case to be ruled against me always, including in TPR disposition where
the judge recited the exact same words as Sheila Johnson, that she relieved herself of fulfilling
Social Service Law diligent efforts by stating that this plaintiff has schizophrenia and is in
treatment or is not, in the area of the report specified for reporting case planner efforts to the
goal of reunification of child custody and what the respondent did or did not do. Reference
EXHIBIT A. Email exchanges of this complaint.

13. Keisha Malphurs #7 is incorrect, inaccurate as above-mentioned. This plaintiff displayed no
mental iiiness; the intake allegations were also refuted on the same record. This plaintiff was not
prescribed any psychiatric medication to take before, during or discharged with after her stay at
Bellevue Hospital. Throughout the case, this plaintiff was not prescribed any psychiatric
medication to treat severe mental illnesses that ACS and privy parties have alleged about this
plaintiff and Little Flower staff under the supervision of Keisha Malphurs was told that this
plaintiff | did not meet the criteria for such in phone call that | was present at and in reports from
the mental health service providers that release of information was signed to Keisha Malphurs
12-16-2014 per long term service provider that | was in court order compliance to.

14, All case parties and/or their lawyers had access to the Bellevue record that was on the court
case ACS case records files. There was briefly an in camera inspection, but i refused that
because | had nothing to hide of myseif | did nothing wrong and | asked for the lawyer to be
relieved who did that and who among many was making decisions without my permission in the
case that occurred for over 6 years because of case parties, that has adversely affected the
health and well being of this plaintiff and the subject-child. Thus the “in camera” was not
alfecting the case to my knowledge because | proceeded with permission from the Court's MHS
office afier completing a competency evaluation 11-28-2013. The assigned counsel was
replaced eventually because she did not have the same objectives as | did where she wanted to
dweil on in camera and | wanted my son back. Reference Exhibit C. 11-28-2013 Bryan Stuart
report.

15. #9 of Keisha Malphurs' affidavit is false. While Keisha M. was a supervisor, she was
informed of staff behavioral complaints and complaints that her staff was not giving me referrals
for programs directly asserted to her and | reported directly to the subsequent case docket in
SDNY that | had filed because she did nothing but push for me to have my visits; because | was
being refused in the court of Susan Knipps who openly displayed that she did not like that | was
granted permission to proceed as Pro Se by the MHS office who approximately 2 months later
changed their minds and issued a false report against me that on court record Susan Knipps
refused to subpoena my proofs thus | had to have an 18B assigned because of intimidation
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tactics and other court traps given. Reference SDNY Docket 13-cv-08736WHP at Pacer.gov
files (unable to add directly but am seeking them to be entered as an exhibit to support
this section and all other applicable sections)

16. From 10-2013, | was told by Little Flower CFS case staff to go to PATH single women’s
shelter because | was an out of state resident of Pennsylvania. That, to cooperate with the
service plan j had to be local. Visitation was 3 days a week in 2013 and decreased to 1 day a
week 1 hour also during that year.

17. 1 complained to ACS that after the Service Plan was given, Little Flower CFS staff wasn’t
giving me referrais to those programs and that | was looking for them online but did not find
them locally. Every time | went to ACS, ACS redirected me to teil Little Flower CFS staff. | made
various complaints against the agency in motions directly to the Family Court case record who
refused to address them. Therefore | put copies of those motions on the SDNY

13-cv-08736WHP record in exhibits showing that | was making efforts and that | wasn't mentally
ill and that case parties, above-captioned defendants, privy parties were not doing their
procedural job.

18. | moved back to Pennsylvania 2-27-2014, and while Little Flower CFS staff was lying in
court saying | assaulted Keisha Malphurs at the foster agency, that | did not want my son, that |
was refusing the case plan, | went to Pennsylvania DHS and asked for help. Pennsylvania DHS
said they could not work my case with me unless ACS transferred my son and case fo them but
that they could provide me with all the resources | needed. After | went to a few groups and felt
like this wasn't enough, | took my service plan papers back to DHS and got some resources to
help me find service plan programs that fit the criteria to what we discussed in the meeting.
Criteria that | felt would suffice to be educational and enough to get my son returned to my
custody. | reportedly and documentedly began those services 6-2014 and completed them all by
12-16-2014, except for the anger management | was receiving from the intensive outpatient

MHS Dialectical behavioral Therapy program that | was in so that ! was attending outpatient
approximately and up to 3 days a week plus visits 1 day a week if | was not under suspension.
Reference EXHIBIT D. program certificates, parenting class book, 2013 service plan
order, (CBS) mhs reports; testing, and DBT certificate and info., DHS card etc.

19. Subsequently, the case planner was removed from the case and Keisha Malphurs herself
had to deal with my case until a case planner was assigned. In that time, Keisha M. gave a
referral for parenting class in Brooklyn that did not work out and she was directly involved to
know exactly why because when the program facilitator asked me to participate and talk about a
topic and | did she did not like what | had to say and caused me to have a panic attack. | walked
out of the room and called Keisha Malphurs immediately and told her | can’t do this. | have other
options, she caused me to have a panic attack in her attitude at me etc. If Keisha M. did not
document what I told her exactly what | said then that is not my problem and | should not be
penalized for that. In fact | had to call my therapist at the clinic | was attending and tell him | am
in a panic aitack and it’s not going away and they had to talk me through that. NONETHELESS,
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! completed a 13 week detailed parenting class; | made a book from what | learned and the
resource packets given per each class and then | gave a copy of that to the foster agency,
lawyers assigned to me to present to the court, with all my certificates of SUCCESSFUL
completion (because if | did not complete the programs successfully | likely would not have
received a certificate with approval from those staff directly given upon contact). Reference
EXHIBIT D.

20. Before Jennifer Pollissaint was removed as the first case planner to the family court case,
she created a hostile environment and then tried to blame that on me when | did nothing but try
to visit and bond with my child. There was multiple incidents that | reported of the behaviors of
the foster agency staff who then lied fo the court record to say, without detail and without
substantiating even by reporting such timely so an investigation by law enforcement or court
directed could occur like when she lied and said | punched Keisha M. in the face at the foster
agency, to the court record in approximately 12-2013 or 1-2014 that | immediately said
subpoena the lobby camera coverage | did not hit her or act violently. Another was that the
security staff screamed in my face because | was waiting for Crystal to come supervise my visit
and he said | was disrespectful for not obeying Jennifer that Keisha M. herself had to
immediately run down to the lobby and stop Phillip from screaming in my face making my infant
son shake and cry as | shieided him to my body. | AM WILLING TO TAKE A POLYGRAPH TO
ALL OF THIS... ARE DEFENDANTS, CASE PARTIES, PRIVY PARTIES?

Reference SDNY Docket 13-cv-08736WHP at Pacer.gov files

Keisha M. was made aware of these ordeals that | reported, and reported, and reported to not
just her and the agency she is employed ai but to City and State agencies, all of which said we
can not get involved in court proceedings that they was not asked to get involved in they was
asked to get involved in agency related complaints and compiaints against individuals. Even
complaints against lawyers to the places that censure or disbar them refused and the judicial
conduct board. All of which either refused, passed my case, gave some bogus reply of not doing
a job, ignored my complaint to them etc and offered no intervention. Yet | find it impossible to
believe that they can leave civil rights abuses to occur, malpractice, even child abuse of refusing
adequate services, but in criminal court many defendants had agency supports to their defense.
Jennifer Pollissaint gave 1 referral as indicated on 13-cv-O8736WHP io this plaintiff in 2013 and
| paid $30.00 to a taxi driver to help me find the place that he took me to the address on the
referral and it was an industrial complex that did not have parenting classes. Thereafter she
gave no more referrals for the entire 10 months total that she was assigned to the family court
case matter about my son. Reference SDNY Docket 13-cv-08736WHP at Pacer.gov files

21, [The first Visit Suspension] On approximately 1-2014 or the hearing slightly prior, Little
Flower CFS staff under Keisha M.’s supervision authority, told the court that | assaulted Keisha
M. at visitation, subsequently the court ordered me to attend mental health services in order to
nave visitation. When | did not immediately comply with that order, my visitation was suspended.
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22. Prior to that order | was in compliance and afterwards also to where | was given psychiatric
medication for 2 days and was taken off the psychiatric medication by Beth Israel Hospital
service providers.

23, | was attending counseling services when Jennifer Pollissaint called and requested that | be
put on medication for schizophrenia. The therapist Theresa Hsu-Watktet told Jennifer Pollissant
in my presence that | did not meet such criteria but if | did that she would have done such. | was
in post-partum physiologically and crying every day for my baby as the reason why | went to
outpatient mental health services. | was reportedly traumatized at the actions of taking my child
at birth and separation to non kinship foster custody, and reports were given to the ACS, Family
court record.

24, Jennifer Pollissaint allowed the foster mom to not include me in co-parenting or information
about my son, since the beginning of the case until the order of protection issued after 1 year of
the same alienating, case delays, trouble etc that was produced as results from Little Flower
CFS. That included that in 4-2014 the court of Susan Knipps recognized that | was traumatized
and ordered ACS and Little Flower CFS to put me and my son in visits in Dyadic therapy to
reinstate the suspended visits from 71-2014.

25. [The second suspension] Keisha M. proceeded with violating the court order that was
specific to give me dyadic therapy while my son was 6 months-12 months old, to proceed with
supervised therapeutic visitation services agency that offered no therapy, no dyadic, and
caused me to leave remission from having panic attacks to having frequent panic attacks and
nightmares etc terror from having to keep participating in their legal games that gave no results
and ultimately | refused to give my son back and was charged with misdemeanor assault, child
endangerment. | sprayed the foster mom with pepper spray because she took matters into her
own hands when agency staff and i was waiting for NYPD to arrive to settle the matter, and ran
at me screaming for me to give her my child, the agency staff grabbed my sons arms and tried
to rip him out of my arms and that's when ! countered their situation with the warning of and the
use of pepper spray that caused the agency therapist to stop hurting my child who cried out
frorn her use of force and stopped the foster-mom. I’m from Pennsylvania, where it is legal to
use pepper spray to fend off an attack.

26. Keisha M.’s statements in #9 are lies. Listing several agency types for referrals when they
only provided a fake referral from Jennifer Pollissaint and Keisha M. provided a referral to an
agency in Brooklyn. Reference SDNY Docket 13-cv-08736WHP at Pacer.gov files

27. Despite #26 above, that | did not complete the parenting program in Brooklyn and Keisha M.
was notified on the scene as to exactly why, despite what they reported against me that no
other agency that was not linked to Little Flower CFS ever reported behavioral problems from
me and only the two agencies directly linked to Little Flower CFS alleged the same type of
pattern of unexplained circumstances but allegation of mental and behavioral health issues.
Despite that | was put out of two programs that were directly linked to Little Flower CFS case
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planning, | completed all of the services and mental health required of me in all documented and
discussed service planning for reunification of custody of my son.

28. Additionally the third and only other person to provide unsubstantiated and untimely (beyond
ability to provide proper investigation) allegations of behavioral health was the defendant Sheila
Johnson who was a case planner assigned from 12-16-2074 till sometime during my
incarceration Sheila Johnson was replaced by 9-2019 with Darlene Ellison. Sheila Johnson
provided false testimony to the court 6-2018 stating that | was viclent towards her and small
children in 2016, where nothing was reporied and the visit reports of 2016 stated that | had good
visits and made no mention of any type of altercations. In fact Sheila Johnson did not report to
the police or to the court in 2016 in order to safequard the safety of children ete by having an
arrest made, an investigation performed, or visitation suspended. And contrary to her behavior
in email exchanges and Reference EXHIBIT A

29. The Actions of Little Flower CFS staff have been to commit fraud to undermine my efforts
and ability to regain custody of my son and malicious intentional tori, along with grass
negligence tort, The judge Frias-Colon was fully informed and despite was in support of the
malicious prosecution that she allowed to occur and was helping facilitate such by having
testimonies occur off the trial record before the trial that was purely emotional pleas, hearsay of
what was not directly witnessed, from the opposition parties who made clear their
unsubstantiated pro-adoption stances from a year or so before the TPR trial began.

30. #9’s statement of thereafter, presumably to the timeline of #9, October 3rd 2014, there was
no failure to comply as Keisha M. misleads the court to believe in her sworn affidavit, because
thereafter October 3rd 2014 on december 16th 2014 Keisha M., and defendant Sheila Johnson,
who Keisha M. introduced me to at court, was given a signed release of information of the
services that | was in and the certificates of what | completed which included:

1. Domestic Violence group program

2. Enhanced Parenting Skills 13 week program

3. Cognitive Behavioral Services outpatient mental health therapy, standardized testing
and Dialectical Behavioral Therapy program services conducted in a clinical mental
health services setting under the care of a state licensed psychiatrist, psychologist and
psychotherapist team who dealt with my patient caseload accordingly.

4. The only thing not completed was the anger management which was accepted in the
form of Dialectical Behavioral Therapy in the state of Pennsylvania where such was
occurring because DBT inculcates emotional regulation and addresses such.
Additionally that program was compieted from 9-12-2014 until 5-2015 and was issued in
response to the dangerous to my health and well being poor judgment of Keisha M. to
have visits without dyadic therapy in the time of such increased panic attacks as was
reported per the situation that occurred on 9-12-2014 of charges of assault and refusal
to return my son to foster care.

Reference EXHIBIT A
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31. All of the service plan programs were begun and completed within the NYS Law of 15-22
months foster care and ASFA of 1997 regulations. The time period began from 6-2014 until
5-2015 and the discharge from mental health services was given on 3-2016 as | maintained
remission, successfully compleied all services, therapy requirements, and standardized testing.
Reference EXHIBIT A

32. Visiis were suspended only twice prior to my 1-20-2017 incarceration. Once from 1-2014
until 4-2014 but Little Flower CFS did not administer visitation until well after the order to
reinstate visitation occured. Little Flower CFS reinstated those visits on 8-29-2014.

33. The second suspension was from 9-12-2014 until 2-3-2015 where as 1 visit occurred at St.
Luke’s Roosevelt Dyadic Therapy Center, that | found online and told the foster agency staff
about so that | could have visits, however the defendant Sheila Johnson was told to have
security present at visitation in dyadic therapy and she did not provide Little Flower CFS security
staff to the St. Luke’s Roosevelt Dyadic Therapy on 3-6-2015 and afier her discussion with the
St. Luke's staff who could not provide their own security staff, Sheila Johnson undermined my
visitation and participation in dyadic therapy per court orders to where | was unable to have
visits until approximately 8-2015. Several months, again, after the court ordered visitation
reinstated. Reference EXHIBIT E. 2-3-2015 ordered reinstated visits, ACS Connections log
record (indicated Jasmine Brenier program Attachment Bonding Catch-up, certificate received
etc).

34. In the beginning of 2016, this plaintiff attempted to discuss with defendant Sheila Johnson
about progressing my case out of foster care into my custody that | completed ail they asked of
me plus extra programs and had ail good visits in a long proven parenting skis period of time
that their reports from FTC conferences etc reflected that. Sheila Johnson refused, and refused
to make recommendations to ACS, unsubstantially. Additionally, Sheila Johnson reported that |
was having outbursts about court and case problems to her to the case opposition lawyers and
atiribuied such as behavioral health concerns. Stacy Charlenad was assigned to me in about
5-2016 and told me that such reports were made against me after she asked me what
happened and told me do not talk to Sheila Johnson about the case, court, anything. So
thereafter | did not discuss anything with the defendant Sheila Johnson as per my assigned
counsel's instructions. | {ook my complaints to Janet Greaves who was an assistant to the
administrative branch of Little Flower CFS. Reference EXHIBIT A and EXHIBIT E
(correspondences to Janet Greaves, ACS Connection fog record).

35. As per #34 above, the meeting was scheduled ai the foster agency to take place before |
have my scheduled visit with my son on 6-1-2016 where Marcia Conyers, Sheila Johnson, Janet
Greaves and | think either Kecia Williams or Jennifer Horsley was present and basically heard
what {| had to say and replied that “the reason Little Flower CFS would not make any
recommendations to my son being reunited to me in custody was because Adriane Eisen of

ACS told them that | have behavioral health concerns” their decision was based on what ACS
Lawyer wanted them to determine against me and not based on all the work and efforts ! put in
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to have reunification of custody. There before and after, in 2016, Little Flower CFS staff moved
to have a separate goal of adoption in agency goals, contradictory to the court ordered goal of
reunification of custody fo parent (me), this was established in records Reference EXHIBIT F.
Little Flower CFS goal change in agency planning and not court goal change

36. Subsequently at a goal change conference attempt by case opposition parties, Adriane
Eisen of ACS stated above and beyond the facts presented that | completed everything asked
of me and had all good visits. That the service plan was completed after the 9-12-2014 incident
that i was also in treatment for with outpatient services and completed. That she (Adriane Eisen
of ACS) told the ACS facilitator that she did not believe that | (the plaintiff) benefitied from any of
the service plan services that | completed. Without any incidents, episodes, problems, conflicts,
etc given from me ACS Adriane Eisen stated such to the ACS facilitator Lazaro and thus
concluded that ail parties were unanimous to change the goal to adoption. Little Flower
assigned staff who attended, Defendant Sheila Johnson, Marcia Conyers etc refused to present
anything in the ACS goal change conference fo the favor of this plaintiff such as certificates, visit
reports, etc which was presumably on the ACS Connections case record anyway but was
discussed from assigned counse! Stacy Charland and | at the meeting that was biased against
me.

37. Douglas Hoffman presided on the case affer Susan Knipps retired 4-2016 and refused io do
the goal change to adoption and stated that procedural measures had to take place for such to
be considered.

38. | watched Little Flower CFS staff case progress cases of females who was nat white, and
not muslim, without any hassle even similar fo what they have done to my case and noi one
party from Little Flower CFS who interacted with me was of my race category. There was a case
of the mom of Nadia who was a severe heroin addict who had 1 relapse and went fo rehab
during her completing service plan programs after she neglected her child due to being on
heroin and told me her story from her own mouth that | watched have her case progressed to
reunification discharge in 1 year of foster services because her visits was scheduled on the
same times as mine for a long period of time up until her discharge. Director Elizabeth Falcone
of Little Flower CFS told me that | would get my child back if! completed the services and ali
they asked of me.

39. The court changed the goal of reunification of custody to adoption in 2-2018, while | was
incarcerated but not related to being incarcerated. During the goal of reunifi cation of custody
from 10-2013 until 2-2018, Little Flower CFS staff provided:
1. Visitation
2. No service plan program referrals but when ordered by the court did seek‘out a dyadic
agency that was next door to their office “Seen and Heard” where that is the second
agency of two that are directly linked to Little Flower CFS and only those 2 agencies
linked to Little Flower CFS produced negative behavior court reports against me in favor
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of Little Flower CFS adoption agendas. Reference EXHIBIT A. (Specifically Seen and
Heard report and emails to assigned counsel refuting such).
. Assisted in applying for NYCHA but refused fo use PATH Family Shelter as a housing
situation to fulfill their procedural due processes; equalities to other cases similar or
worse than mine, to case progress my case to unsupervised until discharge from foster
care is achieved or ordered otherwise and refused to work this plan as a presentation of
planning for the subject child to the ACS for approvals. | was an out of state resident who
moved to the New York upstate area approximately 3.5 hours from N.Y.C., in the city of
Binghamton.
Did not case plan with family members, did not contact them but once per case planner;
years apart to then not return their return calls and messages, and refused/ignored to
work with the home study conducted, the out of state CPS involved by court order of
Susan Knipps, the court needs for my cousin and my mom who applied for an ICPC to
obtain custody transfer. Also refused compliances to family friends who tried to offer that
help, and orchestrated coercing and intimidating threatening the biological father and his
paternal ACS registered foster parent Aunt Sandra Solomon who joined the case and
kept 1 ACS case spot available on her foster care loan to be able to obtain custody of
the subject-child, attended visitation for a year was ordered unsupervised weekend visits
that the foster agency refused to enjoin and ultimately orchestrated a conditional
surrender stating the reason why is because they are (in 2016) adoption out my son to
the foster parents. Little Fiower CFS refused to present to the court that the subject child
had good visits that i was able to see myself as my visit time was scheduled to occur
after Sandra Solomon’s who she brought a child in her care with her who was friends to
my son that they would play hard at every visit. But that the court ordered a visit
observation to occur at the Court MHS office in approximately 1-2016 where for
whatever reason the subject child had at age 3 he cried and the biased MHS office staff
ruled that he should not attend supportive services fo help him transition to kinship
custody but that he shouid stay in nonkinship foster care which is very awkward for
mental health services to disregard the long term impact that unnecessary foster care
has on children, their families, their relationships, etc.
Little Flower provided unnecessary programs that were not ACS or Court ordered, and
was not ACS Connection Log planned for due to any concerns raised because none was
raised. That irregardless, | successfully fulfilled, completed.
Little Flower CFS provided bus fare, transportation ways to visitation, some
reimbursements included. Mostly due to my out of state residence, inability to find a job
and housing in or near New York City.
. Refused equality to progress my case the same as other cases, in accordance with
ASFA of 1997 and New York State Law of 15-22 months foster care. Whereas provision
of allowing a foster custody case to occur for over 6 years is not and was not given in
state or federal statutory law, that Little Flower CFS deviated from; and deviated from
procedural due process in equality and equal protection to other cases of similar or
worse nature, and only offered fabrications mixed with the real evidences, and
repeatedly reciting that Bellevue stated that | self reported schizophrenia. The records to

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my only mental health services acquired as an adult since 1998, approximately 22 years,
was given to the court and full cooperation to ascertain the facts of my not having that
type of mental health history prior to the birth of my son in 2013 was given substantially
to the court record, case parties so as io establish the facts and refute the allegations
the exact same affect that completion of services and programs and mental health was
also giving but that the case parties continued in malicious prosecution because they did
not like the outcome in my favor, likely because | am a muslim and they didni like my
character either.

40. Sheila Johnson’s Permanency Hearing reports and other 2019, 2020 Permanency Hearing
reports under the supervision and director authority of Keisha M. was made te report to the
court instead of diligent case efforts: diagnosis with schizophrenia, bipojar, depression, anger
problems. Yet no mental health provider Little Flower CFS was given signed releases of
information to and record copies of asserted that. But that was used as a measure to not have
to effort diligence to somebody of that serious level of mental iiness and such was allowed by
Keisha M. to occur despite conversations and interactions proving otherwise of my behavior and
character.

44. | never displayed and according to the reports from Little Flower to ACS, | never displayed
characteristics of the diagnoses or anything that would contradict my goal of reunification of
custody, before or during the case matter. Prior history reports showed that | had some issues
in my adolescence as a juvenile but that none of that carried on into my adulthood from 1998
until 2020. That report was given to the court record in 4-2014. { fully cooperated in that case
and was denied irregardless. This can be substantiated. Reference EXHIBIT G. Signed
releases of information throughout the case history, EXHIBIT H 2606 eval report,
Reference EXHIBIT E also

42. The contents of the EXHIBIT H report was misconstrued to the court despite the actual
report was put on the case record, to have been a lifelong history of mental iliness that never
subsided. That was fabricated by David Usdan, and by the ACS and privy parties of ACS.

43, None of the records/reports that were not linked to having contact or picked by Little Flower
CFS staff displayed that | had any problems with mental illness or behavioral health issues,
versus the two agencies that Little Flower CFS orchestrated services at and the Court MHS
office.

44. The following are the Mental Health Service providers that | sought out on my own to stay in
court compliance and | have a long term history with in comparison to the Court MHS office,
David Usdan and his colleagues, or the two agencies who issued allegations against my
behavior but did not exactly say what the behavior problems was in an effort to send a negative
report to the Family Court against me that would be accepted over evidence standards in their
corruption practices problems.

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a. Bellevue Hospital record the initial record from where my son was taken into ACS
custody
b. Sidney Hiliman clinic, postpartum MHS
c. Beth Israel Hospital, postpartum observation for Sidney Hillman’s analysis due to Little
Flower staff calling and asking for me to be put on schizophrenia medication
d. Cognitive Behavioral Services in Philadelphia, | had a long term court compliance
outpatient service relationship
e. New York State OMH, | attended mental health services for the duration of my 32 month
incarceration period.
None of the mental health service providers agreed with any of the case party, defendants, privy
party allegations against my character and mental health. | fully complied and signed for release
of information to access the files or | gave copies to the lawyers of what they could not obtain.
With the exception of the OMH file that | received in January 2020 after a long battle to obtain
such.

45. #11 in Keisha M. affidavit is false, visits last occurred on 8-3-2017 while | was in prison [from
1-20-2017 until 9-4-2019] where as after subsequent attempts and then 2018 attempts to do
tele visitation, | did not press the issue for visitation while | was incarcerated because my son
displayed trauma of refusing to get out of the foster parents car and | did not want them to
abuse my son privately to provoke a reaction of refusing to visit me when he never refused to
visit me prior while incarcerated and prior when | was not incarcerated. Although | was in
agreement to not traumatize my son with prison visits; and | did not pursue visits further after
failed and closed out televisits last dated letter 5-30-2018, subsequently the court suspended
visits to a no contact order.

46. Contradictory to Keisha M.’s affidavit, Despite a no contact order being extreme for a child
who was not known the reason why he was responding traumatically to entering the prison
gates but can be deduced to have been that prison environment was foo traumatic for him, after
i was released from prison 9-4-2019 my visitation was still under strict no contact suspension
and | was not afforded any opportunity to again prove my bonding, nurturing, ability to have a
familial relationship with my son like | had proved before. Reference EXHIBIT A, B, and E
(Specifically, Rana Ryan report 2016, ACS Connections reports, and post-release foster agency
compliances, email exchanges proois).

47. Contradictory to Keisha M.’s affidavit, | provided copies of 3 workbooks that | completed with
parole that were relevant to the family court because they discussed being violence, abuse free
and personal changes to a productive life. Two other certificates were achieved from parole
related programs. My parole officer declined te get involved with the foster agency and stated if
they need anything to request such through you and stick to the parole procedures that we had
already established of relaying information. | gave a copy of a parole mandated mental health
evaluation from a state parole chosen agency provider and a drug and alcohol abuse agency
evaluation and drug testing report. Reference EXHIBIT B

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48. Additionally | was contacted by a person from ACS because | have made various complaints
to NYS-OCFS main office in Rensseiaer against the foster agency and ACS in regards to the
health and well being of my son deteriorated in foster care and proved to continue to deteriorate
in foster care while | was under a 2 year no-contact drastic visit suspension, where | was
accused as being the reason he was suffering trauma but that after they removed my visits he
deteriorated into serious mental health diagnoses and failed everything in psych evals and in
school. The defendant Barbara Simon is responsible for that because she preferred to stay on
the case and produce fabricated reports that he was doing good in foster care and with foster
care and only was suffering from seeing me but yet in 2019 during a 2 year visit suspension that
practically began 8-3-2017, he was diagnosed with intellectual developmental disability formerly
known as mental retardation under Rosa’s Law. and Barbara Simon still refused to referral him
from agency controlled reports to outside service providers who could assess, treatment,
rehabilitate him. Barbara Simon kept him consistent to Piay therapy which is for mild cases and
small children, that he literally utilized playing to cope with any changes occurring, he was at
televisits and the Osborne staff came and told me he was refusing to come into the televisit
room because he was scared, crying, and took the toys and played. Similarly reports indicated
that behavior was so wrongfully conditioned into him by Barbara Simon’s malpractice that he
was doing such while supposed fo be receiving an education at public schooj. Reference
EXHIBIT B, (post-release parole and foster agency compliances and proofs that such was given
to Little Flower CFS and ACS and their reports.) Reference EXHIBIT | 2078- 2079 complaints
evidence, reports of my son's deteriorated mental health condition in 3 phases whereas
Little Flower CFS and ACS refused to give him supportive, qualified services from
outside providers; including my request for OPWDD intervention (letter from OPWDD).

49, Keisha M. was fully informed in telephone discussions and in emails that | can provide my
call log print out, my email print outs and my text message printouts if she needs that to be
established thoroughly, or any of the parties, that | provided all of these copies, and past
records, and refutations to them to clarify any and all misconceptions, whereas the case planner
Darlene Ellison and her supervisor Hyacinth Tyson-King was refusing to put such on the court
report record that | told them defendant Sheila Johnson use to do the first year she was
assigned to my case, (but that defendant Sheila Johnson began withholding information in 2016
and refused to put information that | sent to her from prison on the court record all together,
except that | made books out of paper, colored pencils for my son, cards from coloring pages,
letters and such that | was informed the court had to approve to be given to my son). | told
Keisha M. that { gave all of such information on EXHIBIT to Darlene Ellison and that she told me
directly “I'm not putting all of that on the record I'll mention it” i explained to Keisha M. that such
needed to be put on the record to establish my cognitive functioning is not impaired or a risk to
my son and that thats what that program dealt with it was conducted by State Office parole staff
members catering to post-release mindsets and moving on. Keisha M. told that she would deal
with them to get such put on the record and | always thanked her. Reference EXHIBIT B

50. in 2016, while Marcia Conyers was the supervisor for defendant Sheila Johnson, after | was
advised to not talk to Sheila Johnson about the court and case progressing issues thai was

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relevant to case planning my case, to plan for my child, to establish what; if anything further
needed to be proven so as to receive custody of my child and any further complaints | had was
to be addressed in email to Stacy Charland, and text messages. So anytime thereafter an issue
occurred or anything to address | sent emails and texts or called Stacy Charland and toid her
fully what had happened. Reference EXHIBIT A

51. Since Little Flower and ACS began to play dirty after the dismissal of 13-cv-O8736WHP in
1-30-2015, | began to compile evidences that | gave a full copy of to Stacy Charland by 1-2017
which included the following:
a. An orange visit journal of detailed visit contents
b. ACD from the Jasmine Brenier 2015 ABC program completion that Jasmine Brenier
made from stilled images of the entire program video taped by her but refused to give to
the court for proofs to my ability to parent and interact well with others.
c. Aletter from my mom to the court
d. Ausb flash drive and a 32 GB SD chip of all the pictures, videos from visits and my PDF
of my parenting class book that | made proving that | understanding parenting
e. Astack of over 150 pictures of visits with my son between my visits, and the biological
father and his ACS foster parent aunt's visits and also pictures of my eldest daughter
and visits with her while | was commuting between NYC and Pennsylvania in my
maintaining my parenting between 2 separated children.
Ultimately, | had to report Stacy Charland, her successor when she left the NDS firm, Jessica
Brierly-Snowden for not giving my evidence to the court of Patria Frias-Colon. When Patria
Frias-Colon assigned Robert Rothman, she promised that he would produce my evidence that |
gave. At that time in late 2018 that Robert Rothman was assigned, | had sent various evidences
from letters from Osborne, completions and progresses in prison to include in my evidences and
| was 4 very reliable resource on the entire background of the case because | was the only
person who remained the same unchanged party, all others was replaced, retired etc. | had and
have copies of hundreds of letters that | sent while | was incarcerated to Sheila Johnson, Stacy
Charland, Jessica Brierly-Snowden, Robert Rothman and complaints to every agency and staff
member that | filed complaint with in regards to the case about my son, some of which was
already sent to this court in the first amended. | fully cooperated and did everything | was
suppose to do to seek justice and to obtain custody of my son, and no matter how well | proved
and did, the case parties had a prejudiced determination of refusing fo return my son to me and
the defendants either participated or condoned such by not doing anything at ali to intercept the
problems. Reference EXHIBIT J Rothman email confirmed returning the items to me.

52. As per #0’s last sentence “between February 2017 and September 2019 Ms Wrobleski was
incarcerated.” During that incarceration:

4. Sheila Johnson did not mail any correspondence, releases of information, well being or
court reports to this plaintiff, for the entire 32 months incarceration. At all times of the
incarceration time period, Little Flower CFS staff knew exactly where | was therein and
contacted prison staff directly for information despite being told numerous times that they
needed a signed release of information directly from me. In complete refusal to contact

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me with whatever she was seeking from the prison staff and reporting noncompliance to
the court, the defendant Sheila Johnson and Little Fiower CFS staff continued to contact
the prison and violated confidentiality by sending correspondence to the prison staff to
ask me to sign over my rights in a paper that needed explained, for 6 months that was
given to me to sign but was not explained in anyway or with instructions when sent to the
prison ORC staff. | made a copy and mailed such to Robert Rothman and received no
advise on it but then later found out that in my absence Patria Frias-Colon had made
orders and given Little Flower CFS privileges that they would make my parental
decisions in my absence and further not include as if ihey ever did before, that decision
was involving the education system. | was told when | got out of prison that he was being
dealt with in a smaller class room and that he had behavioral issues, whereas | told that |
do not want them to put my son in any time out that involves isolation or abuse.

| maintained contact while in prison several times monthly and i maintained a meaningful
relationship to my son irregardiess if that was eventually not reciprocated because | am
the parent and | was the respondent, he was the child that was under no obligation to
prove himself and to know how to maintain and nurture family relationships. That was my
responsibility and | diligently fulfilled it. Sheila Johnson reported when the foster parents
tried to complaint to the court 5-2017 that my son was crying again after visits (that
began 10-2015 at age 24 months in foster care per ASFA 1997 15-22 months foster
care, per reports that he was suffering trauma after having visited with his mother; solely
upon returns to the foster parents and foster care household, Little Flower CFS was
repeatedly reported to of this as was the court and Legal Aid Society and none issued to
give him qualified mental health treatment, to call in a qualified mental health expert that
was not their own corrupt court MHS to give expert opinion, but instead made their own
solution of parental alienation, penalize and punish me with all that they did
above-mentioned and blaming me for their trauma caused to the subject child via
excessive foster care and whatever services and supports that they refused to give to
him in medical mental health deliberate gross negligence) that the case opposition
parties, none of which are qualified in mental health alleged that such was “from seeing
his mother’ yet reportedly occurred only after visits; returning to foster custody. Sheila
Johnson reported to the court record after she was ordered by Douglas Hoffman
presiding to conduct a 3 day home siudy of the child’s behaviors per the foster parents
allegations, Sheila Johnson reported back that there were no abnormal behaviors.
Subsequent to that, in the next months visit, the foster parents decided to bring him to
the prison and not the ACS van service, and whatever occurred in the privacy of their car
tide, the subject-child began frantically refusing to leave the car which gave me the
impression that he was threatened with abuse. Reference EXHIBIT K. 2017 court
reports from Sheila Johnson, EXHIBIT | (Specifically 2017 eval, 2019 diagnosis,
Barbara Simon’s reports).

Despite that | was the only person at Taconic Correctional facility for that period until
8-3-2017 receiving ACS visits on Thursdays, where no other persons was in the visiting
room except officers supervising my visits, NYS-DOCCS has surveillance cameras that
record audio and video. Sheila Johnson provided fabricated reports to the court record

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10.

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stating that we had no meaningful interactions and stating contrary to what happened at
the actual visit to give a consistent impression in accordance with legal standards to
proceed on that we do not have a meaningful established relationship (despite 12-2016
report prior to my entering prison from Rana Ryan stating that we do). Assigned counsel
NDS of Harlem staff Stacy Charland and Jessica Brierly-Snowden refused to issue the
subpoena of the 3 visits at Taconic CF and 1 visit at Bedford Hills CF that proved that
Sheila Johnson was fabricating reports, after | gave them the information that was given
to me by NYS-DOCCS staff on where to send subpoena to for the audio video
recordings copies.

My son was denied appropriate supportive qualified services and was diagnosed with
PTSD 7-7-2017: impressed with developmental delays in failed psych eval standardized
testing measures issued on him. Reference EXHIBIT I

Sheila Johnson continued to recycle reports stating that he did the exact same traumatic
crying each time she attempted visits after the initial time of that on 7-6-2017 but not at
Bedford Hills CF on 8-3-2017, which she also lied of that visit contents also. Reference
EXHIBIT K

Sheila Johnson alleged that while | was in prison | was violent towards her in the
visitation room, while under the supervision of NYS-DOCCS staff.

| made various items and mailed them to the foster agency to be given to my son,
among the things that | did not mail was crocheted slippers and a teddy bear | made that
| gave the yellow slip at a visit with Sheila that she later informed me stating that the
prison staff refused to give her the teddy bear and took the paper from her without giving
it back. | filed a grievance and complaint that returned that such was not their doings.
Reference EXHIBIT L. prison complaints on teddy bear

Sheila Johnson visited me from 9-2017; 10-2017 when | asked her not to. | was
transferred out of Taconic Correctional Facility to go to Albion Correctional Facility
40-31-2017. Sheila Johnson visited Riker’s 12-2017 and 2-2018 where | asked the
officer’s to remove me because | feared she would lie against me in another report.
When i found out about Sheila Johnson's fabricated 2017 reports 1 confronted her
respectfully on the October 2017 visit where she became aggravated and after | said
what | had to say | asked the officer to remove me, and | sent 2 letfers to her cussing her
out for lying and not providing my proofs sent to her to the court. Prior to that i never
disrespected her.

Sheila Johnson provided those two letters to the court of Frias-Coton in 6-2018 and gave
changed testimony on 6-18; 6-19-2018 that described that although unreported in 2016 |
always was violent towards her and chiidren at visits and in 2017 also while in prison.
Her statement was contradicted that she previously informed that in 2016 she did not
supervise visits that Barbara Reese did. And reality that if | would have conducted myself
violently towards her in NYS-DOCCS prison, | would have been put in Lock or SHU as
the court may know from other cases involving prisoners in NYS state prison protocols.
As per letters sent to her several times monthly for the duration of my incarceration, |
maintained planning for my son, working, cooperating, giving relevant information with

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Little Flower CFS case planning to my reunification of custody even when the goal was
ordered changed 2-2018. Reference EXHIBIT N A.R.T. letter from Venning receipt.

12, While incarcerated, in 2018 because | was subjected to inadequate law library access
and materials while at Taconic CF in 2017, | began reporting to NYS-OCFS, DOI, and
various city and state agencies of the conduct of the court case affiliated parties and
case assigned staff conduct, refusal to give my son appropriate menial health and
supportive services that Little Flower CFS and case parties actions caused:

a. My son was reported to have trauma symptoms AFTER returned to foster care
custody but not at our GOOD visits. Instead of qualified services he was only
given Play Therapy by Little Flower CFS staff Barbara Simon

b. My son progressed to a PTSD diagnosis with impressed delays to his
development on 7-7-2017 psych eval. Which provided absence of a known
medical causation to have developmental delays, cognitive impairment that i
reported to NYS-OCFS that the only way a child would have developmentai
delays absent known medical causations was through serious child abuse or
neglect 1012 F or H of the Family Court Act describes being in the custody of a
parent or guardian who provides inadequate care per 1012 of FCA care
standards that would put the child at risk for impairment if left in their custody and
he has on record history of childhoed trauma induced by the case parties
excessive foster care, inability to help him and mishandling of the case and was
not in my custody or anybody elses to receive such.

c. In 2019 my son allegedly deteriorated more to and was diagnosed with
intellectual developmental disability formerly known as mental retardation under
Rosa’s Law. Barbara Simon continued to provide her inadequate care, deprived
him of treatments and qualified services of places that | contacted including
OPWODD and refused to allow the case to go to the correct venue out of her
control.

53. #10 of Keisha M’s affidavit is false. Approximately December 2nd 2013, Susan Knipps on
record refused to facilitate iCPC measures to my cousin Amanda Reed’s request to attend court
on December 10th to receive custody transfer of my son. My cousin and my mom planned that
my cousin would respond in my moms absence because my mom could not attend or travel to
NYC because her full time job would not permit her to have the time off whereas she also had to
take care of my daughter left in her custody because of the open ACS case status. My mom had
a full time job at the same company with benefits for over 20 years, 401k etc. she also has her
own home on mortgage that would have been compromised if she did leave her job to attend
visitation and whatever requirements ACS would have added for her to be able to obtain
custody. Susan Knipps ordered an ICPC for both my cousin and my mom. Little Flower CFS
offered no case planning with the CPS agency in Pennsylvania that did the court ordered hame
study and also Little Flower CFS staff offered no direct case planning with my mom or my
cousin, and did not return their calls.

54. Joel Solomon, the biological! father, his paternal aunt Sandra Solomon is an ACS registered
foster parent, who at the time she joined the case, she had a set of twin girls that she adopted

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and 1 child in her foster care from ACS. In her home she explained she had one bed available
outside of what she currently had on her caseload, considering that she adopted twins, she
specified that she would keep that one bed available for ACS to transfer my son to her
household. Sandra Solomon was not signed with the Little Flower foster agency but was signed
to another foster agency whereas the case would have to have been transferred out of Little
Flower and to the foster agency that Sandra Solomon was assigned to. Little Flower did not
facilitate such KINSHIP custody efforts that began 4-2015 until a year later in 2016 she signed a
conditional surrender that decided without a court, due process, trial, and irregardiess of truth,
justice and legal standards that my son was fo be adopted to the foster parents and that if she
signs off she would be able to locate him and contact him until he turns 18 years oid. So that he
was not lost.

55. #11 of Keisha M.’s affidavit is false. Keisha M. as director:
4. Was fully informed
2. Was informed that | completed the service plan programs again in prison and certificates
were given, copies of such were given and compiled as ACS advised me to do in
9-2019. The programs completed a second time from the first and only service pian
given was: parenting class, Aggression replacement training which included domestic
violence and anger management, and mental health services through NYS-OMH.
Copies was given to the foster agency per the compilations that ACS staff instructed me
to do and email ordered Little Flower to turn over to ACS
3. Post-release mental health evaluation report was given that explained no services was
recommended as needed at that time, from an agency selected by NYS parole, to report
fo parole, copy was given to the foster agency and ACS via the foster agency
4. Adrug and alcohol abuse evaluation was conducted by a NYS parole selected agency,
that aiso provided 5 or 7 panel drug testing and reported results in report and to parole
copy was given to the foster agency and ACS via ihe foster agency
5. Welfare to work program was completed with a certificate, re-entry program was
completed, and women's group was completed all of which had certificates and was
given copies to the foster agency and ACS via the foster agency
6. As per the women's parole group, | completed and made copies of 3 workbooks thai was
relevant to prove my cognitive function, intelligence, and ability to thrive without violence
and be a productive positive family member and member to society
Keisha M. was called and emailed and informed of these things and specifically the 3
workbooks because | wanted those presented on court record. That my lawyer Robert Rothman
was also given copies and that he has not provided any of my evidence to the court record thus
far so i anticipated that he would not do so and that | begged her to order Dariene Ellison and
Hyacinth Tyson-King to produce them to the record whereas they said they would not.
Reference EXHIBIT B

56. #12 of Keisha M.’s affidavit is false. Three visits at Taconic CF with long gaps in between

occurred and 1 visit to Bedford Hills CF. the visits was attempted allegedly to Riker’s 12-2017;
2-2018 while | was there for court, and that | applied for televisitation 3 times and both Marcia

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Conyers and Sheila Johnson refused until they was court ordered to comply on 1-26-2018
whereas thereafter Osborne Association was attempting and case working to provide televisis
3-2018 until 5-30-2018. Thereafter the visits was mutually not attempted out of concern for the
subject child’s mental health and well being on my part and the other parties part equally but
was only acknowledged by case parties to be of their concern and did not document equally that
{ agreed and did not need a visit suspension in order to come to that reality. It was stated that
the prison environment had a traumatic affect on the subject child who was not an infant child as
stated by Keisha M. but was almost 5 years old then and is over 6 years old now. Reference
EXHIBIT M letters involving televisitation and Osborne Association, prison letters proofs
to compliance and reporting

57. According to Keisha M. 's sworn affidavit to the court, she porirays many misleading
statements of the case duration, child age, case information falsely put therein or conveniently
left out.

58. Keisha M. also portrays and misleads the Court to portend that ! failed to do what I was
suppose to do or #13 “failed to avail herself of available options to regain custody of her child.”
Yet contradictory to her and case related parties claims and depictions, at the very minimal all of
my certificates of successful program compietion was put on the court record before 2016 (from
the first time | completed the Service plan of two times and extra programs) from Sheila
Johnson.

| attended and cooperated for 6 years not to not reclaim my son. | attended and cooperated for
over 6 years, they did not make any determination to adoption in the first 15-22 months that
would have been procedural and substantive due process and nothing changed in my behavior
and cooperation after the first 15-22 months because | always remained the same strong
person with the same determination and focuses. | attended and cooperated even when | was in
prison and afterwards. | had the option to not have to endure court trip bus rides from Albion to
Bedford Hills CF that was 8- 10 hours under normal conditions and caused me exhaustion and
leg swellings. Reference EXHIBIT A, B, D, E, L and M

59. #13 of Keisha M.’s affidavit is false. The case docket was NN 42965-13 which has remained
the case docket of the case matter for the entire 6 years but an additional docket of B 43917-16
was added as a TPR docket when Dwight Kennedy appeared as counsel! for the foster agency
5-2016 and filed for TPR trials and due processes to take place.

60. Dwight Kennedy's original filing portrayed | had schizophrenia and was unable to care for a
child, unsubstantial allegations that | refuted to him directly and to his co-signer Antonino
Esposito representative of the Little Flower Children and Family Services. The allegations came
from his client Sheila Johnson whe was also reporting that | had schizophrenia when nobody
diagnosed ihat.

61. Dwight Kennedy was given special privileges in the TPR court and seemingly because he
boasts online of a 98% trial success rate the privileges extended to that determination in his

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favor because the evidence weighs heavily against the allegations from the opposition parties to
not afford them what they received. Among those special privileges given to Dwight Kennedy,
he was allowed to amend the TPR petition 2 and a half years after filing (12-2018) when the
rules stipulated up to 60 days after filing (6-2016).

62. #13 seems to include Dwight Kennedy's actions as that of Little Flower which was not in
accordance to the Adoption and Safe Families Act or New York State statutory provisions that
clearly define 15-22 months of foster care the first time and not several rounds of 15-22 months
iater after case building. The initial foster custody entry until 15-22 months did not give a chance
for Little Flower CFS to fite TPR because of the judge presiding Susan Knipps; it was known to
the case that | fully cooperated, complied, completed services and was not resistant to getting
my son back which is hard to believe that | would attend the court case drama for over 6 years
and ever ai all be resistant to the objective of atiended tc get my son back. | fully efforted
towards the goals of reunification of custody of my child to me, per the court ordered goal that
remained intact until 2-2018 of reunification of custody afforded to me the parent. There was no
grounds to file against me, Little Flower CFS and Sheila Johnson distorted to Dwight Kennedy
the menial health status of this plaintiff per TPR petition upon his original filings and thereafter
Dwight Kennedy after informed that | did not have such diagnoses, decided to proceed in
malicious prosecution instead of withdraw or drastically alter his participation in the case for the
perversion of justice to not occur, to give an honest service to the court, the case, and his clients
instead of an eager win to keep a 98% trial success rate.

Little Flower CFS staff did not file a TPR per 15-22 months because there was no grounds fo file
against me, on or with, until they presented malicious deceit. The actions of Little Flower CFS
parties was not in accordance to ASFA of 1997 or NYS statutory Law of 15-22 months foster
care, but was an abuse of the legal system and pretense of filing in accordance. Reference
EXHIBIT N ASFA of 1997

63. #13 last sentence is false, Ms Wrobleski preduced all certificates, explanations, cooperation
and participation so thoroughly to Little Flower and assigned counsel who refused to produce
such to the court and cheated me that | even toid Little Flower CFS staff and contradictory to the
sworn affidavits of Keisha M. and Hyacinth Tyson-King, that | told them and that I did give all
copies to them and to Mr. Rothman to produce to the court, who has not provided them to the
court or addressed providing them to the court and because of that | asked them to provide
them to the court record as Sheila Johnson used to put certificates with her court reporis to the
case record. That Frias-Colon has been threatening me and refuses to let me talk on the record
except she reacts thaf whatever | say is mental illness outbursts.” That | was forced to silencing
and censuring in the court of Patria Frias-Colon. Totality of the circumstance.

64. Additionally Patria Frias-Colon blamed me for the change in lawyers that happened multiple
times over a period of 6 and a half years of an illegally open case, that Little Flower CFS lawyer
Dwight Kennedy misrepresented the facts of to the court of Patria Frias-Colon and instead of
relying on the evidence of the anders briefs and transcripted reasons to why the lawyers was
asked to relieve themselves fromthe case matter, Dwight Kennedy urged her to link such to a

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mental illness reason and that is what Patria Frias-Colon did such and not impartial, even when
explained to on record and factually not responsible for the actions of the court appointed
counsel on the case, that 2 was conflicts of interest who signed onto my case representation
when they knew beyond reasonable doubt that their partner and firm representatives was
standing in the same court room assigned to cpposite parties, that another gave a brief stating
that she lost communication with the case due to her own workload interfering etc. and
ultimately in complaints that was repeated to Frias-Colon, as in both trial events Gary Schults
was relieved for not presenting witnesses and helping the case legitimately in my favor, Robert
Rothman also did not produce evidences to the court record and | was compelled to keep him
as per 12-3-2018 hearing specified on record that this is your last assigned counsel etc.
because | could not afford to hire counsel of my own and because ! was incarcerated and
unable fo proceed solely as pro se in a malicious environment that would have and has proven
to have used mailicious tactics to harass and overrule my ability to proceed in an impartial fair
trial hearing environment asa _ pro se litigant, determining factors. Additional! to the list of
relieved counsel was NDS of Harlem who had 2 assigned to me when one left the other
continued to not provide my evidences and argumenis to the court record and allowed
misrepresentation to occur that included refusing to give the court a letter from Osborne
Association dated 5-30-3018 recommending therapy to help my son have visits etc. Ultimately,
the evidence given to NDS of Harlem staff and not the dozens of letters sent to them, was given
to Robert Rothman who succeeded them in my representation; and at the end of the TPR trial
on 1-29-2020 approximately a few weeks later returned such to my possession upon my
requests. Contrary to Keisha M.’s affidavit | did avail myself through all means available to me.
Reference EXHIBIT B of all of 2019 post release emails, exchanges, copies given

65, #14 of Keisha M.’s affidavit is false. This plaintiff was not afforded opportunities to present
supporting documents. Little Flower CFS was the agency charged along with ACS to case plan
and coordinate aspects of the case that included providing such information to the court record.
Also, within my ability, | provided additional copies that | paid for all copies, to the assigned
counsel given to me by the court and was also promised; guaranteed by Patria Frias-Colon that
the assigned counsel would provide all of my evidences to the court record and who ultimately
did not comply to that promise made despite instructed to do so. Due to the past behaviors that |
explained to Keisha M. | secured myself by relying on Little Flower CFS staff to do their job and
produce such documents to the court record at least a month before the trial conclusion
occurred, who also refused to comply. Reference EXHIBIT B and J

66. #17 of Keisha M.’s affidavit is false, as described previously here-in, and for what was barely
described was that while incarcerated | complained to Little Flower CFS, NYS-OCFS, OPWDD,
assigned counsel, and city and state agencies that Barbara Simon was not qualified to deal with
my sons diagnosed and impressed serious diagnoses. | even informed Little Flower CFS staff
Kecia Williams, Hyacinth Tyson-King, Darlene Ellison, and Keisha Maluphurs in post released
meetings and correspondences, that Barbara Simon was not clinical, was not qualified to
prescribe or know of medication matters, was not OPWDD because developmental disability is
separate from Mental health services in and of its own category of services and institutions, that

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| informed agencies, assigned counsel etc that Barbara Simon was biased fo her employer in
reporting and case agendas, refused my participation, and only produced unqualified treatment;
one sided reports that was only from Sheila Johnson and Foster parents that was discredited in
previous testimony as having occurred on court record but was not discredited from Barbara
Simon as not having occurred Reference EXHIBIT B, | and K (per Sheila Johnson's 6-1-2017
report from 5-18-2017 court orders and cross examination that provided that the foster parent
gave a first party testimony of incidents from the subject child to the court record on 5-18-2017
but was found to not have been a first party witness because she was at work when the alleged
incidents occurred)

67. That truthfully speaking, Barbara Simon is and has always been inadequate and unqualified
care to the subject child, and is only a LCSW employed by Little Flower to provide limited mental
health services and who overinflated her capabilities and capacity to be more than what she
provenly offered. Barbara Simon’s extent was not treatment plans to known therapy programs
offered in clinical psychotherapy office settings that provide a treatment team to every case that
includes a psychiatric care, psychologist care, and psychotherapist care. In Barbara Simon's
official capacity, she was not clinical with psychiatry and psychology providing monthly
observation, analysis, and treatment team efforts as is what occurs in CLINICAL
ENVIRONMENTS collaborative to address the patient's psychiatric and psychological needs
and in accordance to what is common knowledge when referred or asserted to have a declared
need for therapy what is generally meant by therapy is CLINICAL MHS not a play therapy
program from an agency that is not a mental health service provider clinical outpatient agency.
Nor is Barbara Simon qualified to treatment and deal with Mental Retardation or Intellectual
Developmental Disability per Rosa’s Law, because Mental retardation is a separate category
from mental health services that provides its own separate institutions, treatments, assessments
etc by persons with different qualifications than those in the mental health field. And Little
Flower CFS, Barbara Simon, Sheila Johnson, ACS defendants refused the subject child’s
menial health, well being, and Developmental needs by refusing to have qualified services
intervene timely, appropriately, adequately to assess, test, treatment the subject child who is
only receiving inadequate care at public schoo! along with play therapy from defendant parties til
this present time in the cases. Reference EXHIBIT B, I, M, O (per Barbara Simon’s reports and
lack of qualified treatment plans in the treatment plan sections, but continuation of unqualified
play therapy and lack of trauma support that she asserted to be a self-declared specialist in
trauma of but provided absolutely no services of to a child that was determined to have a need
for clinical qualified mental health services and OPWODD category interventions reference
7-7-2017 and 2019 psych eval findings)

68. There was 4 judges to the case maiter that inciuded
1. Susan Knipps from 10-2013 until 4-2016;
2. Douglas Hoffman from 5-2016 until 7-2017;
3. Ta-tanisha James from 8-2017 until 2-2018;
4, Patria Frias-Colon from 2-2018 until 2-2020
Legal Aid had 3 staff changes:

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a. Natalie Albert retired in approximately 2017 or 2018;
b. Gisselle Cabrera in 2018 with the exact same notes and stances as Natalie Albert;
c. Heather Saslovsky 2019 till present
ACS Law Dept. nad 2 staff changes:
1. Adriane Eisen from 2013 until 2018;
2. Morgan Molinoff from 2018 til present with the exact same notes and stances as Adriane
Eisen
Little Flower CFS had various staff changes:
a. Jennifer Pollissaint and Keisha M. case planner and supervisor from 10-2013 until
7-2014;
Keisha M. and Tizshonda from 7-2014 until 11-2014:
Sheila Johnson and Keisha M. from 12-2014 until! 1-2016;
Sheila Johnson and Marcia Conyers from 1-2016 until 11-2018;
Darlene Ellison and Hyacinth Tyson-King and Director Keisha M. from 2019 until present

eoao8

69. Contrary to Keisha M.’s depiction, | attended practically every court date in my capacity and
every visit unless | was denied by Prison staff to transport me which occured in all of 2017 and
in some random cases thereafter, and unless | was sick with bronchitis to attend visits which
rarely occurred. irregardiess | always and fully maintained my familial relationship and bond and
was capable of redeeming such to my child even when weakened by state and opposition party
efforts to weaken the familial bond as recited in Santosky v. Kramer case law. Reference
EXHIBIT E, O Praised reports from ACS office of Advocacy, Little Flower CFS etc.

70. Marcia Conyers was assigned to case planning supervision from 1-2016 until 11-2018. #5 is
incerrect, that from when she was assigned to the case until incarceration there was no dyadic
therapy there was the Seen and Heard agency next door to Little Flower CFS office in Queens
that had multiple intake sessions with me because of their expressed needs to observe my
behaviors and interactions, thereafter while the first visit took place there the coordinator ended
the session because | would not agree with her to backtrack my established relationship by
asking him to pick a name to call me by that even if it was “banana” we would do that, after she
was explained that in my upbringing and beliefs | believe that persons have a name or title to be
referred to or called by and not objects; that we had established in the foster agency parental
bonding that | am mommy. The coordinator would not discuss the matter with me or when
Sheila Johnson called her after telling me that | have to just comply no matter what it is to get
my son back and | agreed on that ground to continue with the Seen and Heard program, but the
coordinator also refused Sheila Johnson and opted to close the program to us. Reference
EXHIBIT A printed emails

71. #5 is incorrect that there was regular visitation in fact the incident of 9-2014 was not in
Marcia Conyers timeline as she and Sheila Johnson both joined the case afterwards, her
speaking on this topic is hearsay irregardless what kind of gossip reached her from colleagues
at that time, she was not present to the matter or to the case at that time period.

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72. Visitation was not within a program setting from 1-2016 until a program was successfully
completed in 12-2016. Parenting with Love by Rana Ryan started 11-23-2016 until late 12-2016.

73, Contrary to Marcia Conyers sworn affidavit, Little Flower CFS maintained visitation at 1 hour
per week 1 day per week from 12-2013 until Stacy Charland joined the case and Douglas
Hoffman ordered increased visitation on 7-2016 2 hour visits twice a week, until incarceration
occurred. Thereafter Little Flower CFS asserted that it was financial hardship to the foster
parents to travel approximately 1 hour drive out of City limits to Taconic CF for weekly visitation
and that although weekly ACS visits was every Thursday at the two adjacent prison facilities,
Little Flower CFS orchestrated that my visits was only once a month for an hour that they barely
met because | was only given 3 visits at Taconic CF, and 1 visit at Bedford Hills CF.

74. The crigin of the dyadic therapy order was in response to what the court was provided at the
time of the 4-10-2014 introduction of the concept of ordering dyadic therapy to the respondent
mother who gave reports from Beth Israel to the court stating that she was traumatized along
with Sidney Hillman clinic providers discussing that she was struggling with being separated
from the subject child. That at 4-10-2014 the subject child was 6 months old and the mother was
subjected to serious trauma post-partum that warranted dyadic therapy to assist in the maitter
and that eventually the judge of that order retired from the case and no further question of need
for dyadic was posed except a recycled response of relying on old case notes without sufficient
details, without differentiation of the age and changes within the case duration that occurred to
provide for a no longer needed dyadic therapy. The issue of trauma was overcome 5-2015 with
successful program completion of the Dialectical Behavioral Therapy program that proved that
this plaintiff benefitted from programs despite ACS Law Dept. unsubstantiated assertions,
because this plaintiff was less likely to have panic attacks and was more in conirol. Reference
EXHIBIT B for Beth Israel report, CBS reports etc

75, When the 9-12-2014 incident occurred as a byproduct of Keisha M.’s contempt of court
orders, again dyadic was ordered at a young age of the chiid before the child was reported to
have had any symptoms but did have a bonded relationship with biological parents and
appropriate to foster caretakers that was agreed upon by my psychotherapist. The problems
resolved themself with completion of the Dialectical Behavioral Therapy program that lessened
the presence of panic attacks and PTSD symptoms but did not eradicate them. The panic
attacks re-emerged in 2017 when incarcerated and when not produced to the court dates
throughout 2017; when Sheila Johnson antagonized the situation by fabricating reports, when
Little Flower CFS staff sought to have visitation occur less often than was in place prior to
incarceration while they had the ability to produce visitation more than what they actually
offered, and all court related reasons as well as a few confinement related reasons. Reference
EXHIBIT E ACS Connections log post DBT Completion in comparison to Beth Israel
report and CBS records of trauma

76. #6 of Marcia C.’s affidavit is wrong. This plaintiff completed parenting class by 12-16-2014
and again in prison, voluntarily, in 2017 certificates was provided to Sheila Johnson and

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affirmation from the ORC staff to the completion of Aggression Replacement Training as weil as
affirmation to mental health compliances through NYS-OMH prison mental health services.
Reference EXHIBIT B ail copies was given again, and EXHIBIT M

77. #7 of Marcia C.’s affidavit is wrong. Marcia Conyers is misleading and fabricating the case
rumors and gossip of 2015 mixed in with her non-hearsay direct timeline of case involvement of
1-2016 until 11-2018 testimony in an affidavit sworn. The 2 visit suspensions were as
above-mentioned here in and nowhere near the 2016 pre-incarceration timeline of Marcia
Conyers presence to the case. The two visit suspensions timelines are as follows: 1-2014 until
4-2014 court ordered ACS to explore dyadic therapy for the respondent and child visits
commenced 8-29-2014 in a non dyadic program. The second suspension was 9-12-2014 until
2-3-2015 court reinstated visitation with dyadic and with security, visitation occurred once on
3-6-2015 and not again until approximately 7-2015 despite court ordered reinstated visits. The
extra time that Little Flower CFS took outside of court orders that deprived me of court ordered
visitation was due to the poor case planning and case management of the ACS and Little
Flower CFS, that often resulted in this plaintiff finding her own service providers to the court and
ACS facilitated demands. Both suspensions were approximately 4 months each under the court
order but more time was taken by the ACS and Little Flower CFS adversaries in their adversary.
Thereafter when the visitation did occur after the second suspension, a program called
Attachment Bonding Catch-Up by Jasmine Brenier was facilitated from 8-2015 unti} 12-2015
with the certificate and gift card with a CD of the program awards was given in 1-2016. Thai
program was a non dyadic program.

78. All before Marcia C. was assigned to the case, met me, or had any direct involvements

The programs completed prior to Marcia C. being assigned to the case was within the ACS and
Little Flower CFS case records files, along with copies of the certificates and such that was
provided along with those successful completions. Up to this point prior to Marcia C. being
assigned to the case, the parenting class in Brooklyn was refused but was compensated and
made up by a 13 week enhanced parenting class being completed, and Dyadic therapy at St.
Luke’s Dyadic Clinic was thwarted by Sheila Johnson not providing the security guard from the
foster agency as ordered by Susan Knipps. Dyadic was not reordered after 2-3-2015 second
defied order, and no new service plan was given after the original service plan was issued on
10-25-2013. In fact during Marcia C.’s beginning timeline, after Seen and Heard refused to
continue, the next subsequent program given was another non dyadic program called Parenting
with Love by Rana Ryan who issued a favorable report. That program began 11-23-2016 and
concluded approximately 12-26-2016 with a certificate and report given. Reference EXHIBIT B
all given in 2019, EXHIBIT A Rana Ryan report, and EXHIBIT D, E, I, K

79. During Marcia C. 's timeline pre-incarceration, | attended all scheduled visits, conferences,
meetings and court appearances concerning me and my son with a few sick days occurring that
did not negatively affect me, or deprive me of being involved in case planning changes or
discussions. Reference EXHIBIT A

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80. As per #6 of Marcia C.’s statement of 2014 in that context is true except that Little Flower
did not avail these to me or continue to avail those to me, | was in those services in
Philadelphia, Pennsylvania that | found on my own. | am a native of the Commonwealth of
Pennsyivania and moved to Pennsylvania in 2014 until 9-2015 whereas | moved to Binghamton,
New York. While residing in Pennsylvania in 2014 and 2015, | fulfilled those services consistent
and fitting the criteria to the 10-2013 service plan report and to further state that all services was
signed release of information to given access directly to Little Flower CFS staff Keisha
Malphurs’, Little Flower entity and ACS entity on 12-16-2014 at the Family Court lobby.
Reference EXHIBIT D all Philadelphia agencies

81. As per Marcia C.’s statement if pertaining to her own case timeline of 2016 is definitely false
information. furthermore in both contexts, Ms. Wrobleski was never unresponsive and did in
fact, provable fact, always fully cooperate, comply and participate. Reference aii EXHIBITS

82. #7 of Marcia C.’s affidavit is false as described in #6, aiso noting that Cognitive Behavioral
Services in Philadelphia was the outpatient mental health clinical service provider from 6-2014
until successful discharge 3-2016 and the ABC program concluded also before Marcia C.’s
1-2016 timeline from program participation 8-2015 until 12-2015 successful compietion.

83. #8 failed to report that Little Flower CFS caused parental alienation upon both subject child
and | that visitation had long gaps from twice weekly visits that occurred until 1-20-2017
incarceration, under the supervision of Marcia Conyers, no visits occurred from 1-20-2017 until
approximately 3-27-2017, 4 visit in April, no visits in May because the foster parents requested
that such be suspended because he was crying after removed from visits to return back to
foster care (the court date of 5-18-2017 ordered visits to continue against the suspension issued
by the foster agency that deprived the May visit from occurring), Visit occurred on 6-1-2017,
attempted visit occurred 7-6-2017, visit occurred on 8-3-2017, thereafter alleged attempts
occurred to produce a visit once monthly until 2-2018 last attempt. | had provided 3 applications
for tele visitation to occur from 10-2017, 11-2017 and 12-2017 that were all declined specifically
by Sheila Johnson and Marcia Conyers until the court ordered Little Flower fo accept and
facilitate tele visitation on 1-26-2018. Thereafter on 3-5-2018 intake with Osborne Association
tele visitation commenced per court orders of 1-26-2018, and the application for tele visitation
was approved and processed to that agenda. Reference EXHIBIT letters from Osborne
Association confirming defendant's refusal to tele visit etc subsequent notifications.

84. #8 of Marcia C.’s affidavit is misleading that | needed a suspension in order to react and
support the best interest of my child when | was fully compliant to initiate 3 tele visit applications
that Marcia C and Sheila Johnson both declined, and that after attempt to visit was made
through tele visits and upon discussion with Osborne Association, | agreed to not do the visits
under the circumstances while incarcerated and did not need orders placed againsi me to react
in and support the best interest and well being of my child the subject child. No subsequent
request or demands for visitation was made to the affect that | needed suspension fo
comprehend child well being.

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85. #10 of Marcia C.’s affidavit is false as per the same statements made from Keisha M., in
unison, and consistent with my reply of facts per ail of Keisha M.'s affidavit.

86. Hyacinth Tyson-King was assigned to case supervisor over Darlene Ellison case planner for
Little Flower CFS from 41-2019 until present. #7 is false and misleading. While incarcerated, as
previously states, Little Flower CFS staff made no communication efforts except as | previously
described of Sheila Johnson’s 2017 endeavors and no mail correspondence was made from

any Little Flower CFS staff at any time during my 32 month incarceration period except in the
last few months ! was notified of Darlene Ellison as the case planner.

| did not meet or talk to Ms. Tyson- King until post incarceration and | engaged letters to Darlene
Ellison prior to my release (in 2019) not as described in #7 by Ms. Tyson-King.

87. Upon release and in 9-25-2019 Family Team Conference discussions, Darlene Ellison and
Hyacinth Tyson-King was presented with a file of all past and present certificates, MHS reports,
and informed of their faults on the PH report of stating and recycling to the court that | was
diagnosed with schizophrenia. Ail of this was compiled under the direction of ACS who was
notified by NYS-OCFS per my complaints of mismanagement by the case parties that affected
the well being of the subject child and the relayed case information to the court, ACS records
etc. Various requests pertaining to my sons services, receiving reports, and altering their own
fabricated reports to not say !’m schizo and to not support an adoption wantonly but to support
permanency as is the job. Reference EXHIBIT B

88. | declined to allow Little Fiower CFS te have direct contaci with my parole officer because |
felt that my parole situation had nothing to do with Family Court and was a privacy intrusion that
was none of their business to concern themselves with, that | was unwilling to give them free
access to privacy intrude into my life unnecessarily. In the alternative, | explained that | would
give them certified certificates, reports from what | was parole mandated to do and in the same
way | would provide such to NYS State parole.

89. My parole officer also did not give permission for them to contact her, which her words of do
not give them my phone number is a direct order and part of my conditions that | have to obey
her in what she tells me to do and what to abstain from doing. She stated that we do not get
involved in Family Court affairs like that and that if there is anything that needs relayed you can
present such on check-ins or in text messages to me. in the alternative, | explained that | would
give them certified certificates, reports from what | was parole mandated to do and in the same
way | would provide such to NYS State parole.

90. Under Tyson-King’s supervisory position over the case planner assigned, both Darlene
Ellison and Hyacinth Tyson-King upon first telephone call after | was released from prison,
without ever meeting me, and without knowing of what completions was made, had expressed
to me that they wanted me to commute frequently to Brooklyn from Binghamton to do the
service plan services of Parenting classes and mental heaith services through them. i explained

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that | completed the service plan again while in prison and that | was ordered posi-release by
parole to have a post-release mental health evaluation to determine if | needed mental health
services in which | would have been parole mandated to attend. | would need permission to
leave the county geographic restrictions to attend any programs so you will have to send me a
letter in email to present to my parole officer. Thereafter i provided Darlene Ellison with the
report from the post-release mental health evaluation agency selected by NYS parole and
proved that | was evaluated to not have a need for menial health services. Tyson-King and
Darlene Ellison did not pursue asking me to participate in parenting classes again, mental
health services, or provide the letter to give parole to give me permission to attend such in
Brooklyn as they previously discussed. Contradictory fo the sworn affidavit of Hyacinth
Tyson-King that alleges noncompliance from me in these matters. Reference EXHIBIT B ail of
2019 correspondence copies, certificates etc given and exchanged between Little Flower
CFS, ACS and myself.

91. The post-release mental health evaluation Darlene Ellison told me fulfilled MHS criteria. |
told her that the agency who did the evaluation refused to discuss the evaluation directly that
they administer the evaluation and that the report went to a separate entity records department.
| had to ride out to that place and request a copy in person or mail in a release of information
paper requesting such, but that there were 2 separate entities and | attempted to contact the
evaluator but received no reply. Darlene Ellison did not give me a release of information paper
to sign or address what exactly she wanted released to her from that mental health evaluator.
Additionally after receiving the copy of the evaluation report Darlene Ellison did not bring up the
subject of asking me to participate in mental health services or programs thereafter, did not
complain of such, nor did she provide any releases of information to sign asking for any
information. No court report complaint of noncompliance was made. Reference EXHIBIT B

92. | provided certificates to my completions of Welfare to Work program, Ready Set Work
program, Re-Entry programs that were programs to educate and engage me in finding a job as
a convicted felon, job search and interview skills training, etc. Reference EXHIBIT B

93. | provided a certificate of completion of the Women’s Education Program that | also provided
copies of 3 workbooks that | completed, 1 in November 2019 and the other 2 in December of
2019, during the 8 week program. An original certified sealed original certificate was given to
Little Flower CFS staff Dariene Eltison. Reference EXHIBIT B

94. Since 9-2019 release from prison, and upon being informed of the severe diagnosis of
intellectual developmental disability that was impressed about my son, | requested from Darlene
Ellison, Hyacinth Tyson-King, Keisha Malphurs, and assigned counsel to give me copies of my
sons any mental health records, and education records to inform me of what exactly happened
to him and what was done. | was advised to ask for this in writing by Keisha Maiphurs in
November when ACS staff told me to contact her and report that staff was not giving me
requested well being information. | gave the copy of a sworn notarized affidavit of the specific
request (Reference EXHIBIT B and |, affidavit requesting my son’s mental health and

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education records) to Tyson-King on or about December 6th or 9th court date in the Family
Court lobby. | followed up with such regular requests since 9-2019 initia! request, and was told
that when they get that they would give that to me. Dariene Ellison only gave me a repori card
which gave no details from education records of complaints and statuses about my son, and
gave no mental health record informations per the written request and explained in detail exactly
what information | was seeking.

95. Hyacinth Tyson-King, Darlene Ellison, nor Keisha Malphurs never specified that attending
MHS would give me an opportunity to visitation. Instead, They presented Barbara Simon's
affidavits to the court that specified that she had a problem with me having any visitation, that
she was ordered to prepare the subject child for adoption since 2-2018 and thus visits would
conflict and not be in his best interest per goa! of adoption.

96. #10 of Hyacinth Tyson-King’s affidavit is false, in unison with Keisha . and Marcia C.’s
affidavits and is false to the extent of my provided EXHIBITS, and refutations herein.

97. The assertions of Marcia Conyers and Hyacinth Tyson-King of rigorous attention to case
duty and job does not guarantee that the subject child is being adequately cared for. The proofs
to their lack of the standards that they alleged is that he has deteriorated to more serious,
severe diagnoses without any medical, neurological, genetic causation for intellectual
developmental disability. And they have been requested and alerted several times to the correct
services that | demanded prior to the prejudiced trial conclusion of 1-29-2020. Hisiorically, Little
Flower had ACS dismiss investigations from NYS-OCFS into substantiated abuse reports
against their refusal to provide adequate services to the subject child, made by me in meticulous
details, that Little Flower CFS fraudulently reported to ACS of the NYS-OCFS investigation that
this plaintiff had schizophrenia, severe mental illness to make such go away. Those of which are
subsequently and previously contradicted by service plan program and other non-mandated
programs completions and reports that favored my character and the evaluator also reported to
Sheila Johnson that “her son does not have enough words for his age”, that Sheila Johnson
concealed and distorted the information of the incident that the program coordinator and | was
poth present at inregarding to the subject-child lashing out at foster care and lashing out
traumatically at return to foster care that Little Flower CFS staff covered-up concealed
information and lobby camera video footage of despite State Child Abuse line, NYS-OCFS, ACS
was contacted and involved. Reference EXHIBIT E ACS Connections log entries 2015-2016,
EXHIBIT B, and O.

in Response to Dwight Kennedy’s Affidavit
1. #4 of Dwight Kennedy's affidavit is false. Stacy Charland was assigned from 5-2016 not
1-5-2017. On December 2nd 2017, Stacy Charland transferred my case to Jessica

Brierly-Snowden as she left the NDS of Harlem firm but that NDS of Harlem retained
representation of my case, Reference EXHIBIT A of 2016 correspondences

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2. #7 signed consent of release was returned to Jessica Brierly-Snowden before the March 23rd
2018 deadline. Also, sworn affidavits were sent to the clerk of the court to provide to the court
record of relevant detailed information. The judge was ultimately given the various mailed in
affidavits and returned them on the court record to my assigned counsel stating that she was
determining them as ex parte. Reference EXHIBIT O 2018 correspondences and affidavits
to the clerk for court record The affidavits detailed the following:

A. visitation details of 2017

B. information pertaining to my mom’s participation in the case

C. responding to the issues regarding David Usdan that Pennsylvania has a 7 year file
shredding law as David usdan was told by me on 2-7-2018 interview that “no history reports
from PA other than what | provided was accessible per medical and mental health because of
that law and which was as a teenager; not carried on into adulthood to the court record titled
2006 psych eval with college transcripts.

| also corresponded several fetters to David Usdan between his 2-1-2018 interview and
9-22-2018 second interview. Reference EXHIBIT O sworn affidavits

3. Dwight Kennedy asserted in #7 that “without Ms. Wrobleski’s consent we could not obtain
those records as NYS subpoena were not acceptable in other states” yet NYS-OMH is intrastate
and no subpoena was afforded, and although the court ordered Little Flower CFS, they made no
release of information to me available, no mail correspondence, no effort to that court order that
] complied with to Jessica Brierly-Snowden. When Little Flower CFS was his client to the case
maiter.

4.#11 of Dwight Kennedy’s affidavit fails to address that Dwight Kennedy was informed on that
record that his clients mislead and deceived him that as per 1st TPR filing, subsequent to that,
information was given to Dwight Kennedy who decided to amend to include permanent neglect,
2 legal standards and that the MHS on record did not substantiate the allegations made by Little
Flower CFS; ACS. Reference EXHIBIT A email to Antonino Esposito, Dwight Kennedy’s
TPR from 2016 correspondences

5. #16 of Dwight Kennedy’s affidavit is false. NYS-DOCCS failed to produce me due to a
snowstorm that would put me on a later bus trip that would not have produced me to court on
time, counsel was eventually informed but not directly, 3rd party, due fo no phone connection
paid for by counsel. The bus trips only took place on Tuesdays’ to Bedford Hills CF, there at
Bedford Hills CF the bus trips to Rikers island only took place on Wednesdays, | was scheduled
for trip on Thursday to Bedford Hills because Tuesday's bus was canceled due to snow storms
and Court was scheduled for the following Tuesday, whereas the prison was ready to put me on
the Thursday bus before the Tuesday court appearance. | would have sat for a week at Bedford
Hilis CF to then be transferred back to Albion CF on a round trip, two, 10 hour bus ride trips
chained, cuffed, and shackled in a sitting position. | would not have been able to attend the
2-19-2019 court hearing, as Bedford Hills CF previously told me that they do not do court trips to
civil case matters into N.Y.C., that ail court trips to N.Y.C would be designated through the bus

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trip fo Riker’s whereas Rikers Island would coordinate the method of transport to court from
there.

All parties, including Dwight Kennedy was provided this information, had prior access to
information on the procedures followed for prisoner transfers, and was directly informed by
Frias-Colon on record subsequently who approved my actions to request video attendance for
the subsequent 3-6-2019 court hearing due to the weather conditions in upstate New York, and
explained of my signed excuse from prison records as to why | did not attend 2-19-2019 court
hearing.

6. #19 of Dwight Kennedy’s affidavit is incorrect, including adjourned until 10-29-2019. We had
an appearance on 9-25-2019 and an FTC meeting.

7. #20 of Dwight Kennedy’s sworn affidavit is incorrect. The cross-exam of Robert Rothman of
Sheila Johnson was interrupted within the beginning timeline of 3-2015 from a 12-2014 till
12-2016 timeline for the legal standard. Whereas Dwight's witness, Sheila Johnson was
contradicting previous 2018 testimony and 2016-2018 reports; because she had to read from
the accurate day to day visit record and reports from conferences that was ail in my favor to a
case progression that should have happened but was unsubstantially denied. Whereas shorily
into the cross-examination of Sheila Johnson, Dwight Kennedy requested to drop the failure to
plan for subject-child legal standard without prejudice and pursue solely a mental health jegal
standard and to permanent neglect cause of actions. Such was granted as was almost all of the
opposition requests, whereas most, except for a few, requesis made by my assigned counsel
during the duration of Frias-Colon to the case was always denied. Frias-Colon granted Dwight
kennedy’s request without prejudice as he specifically requested, that dismissed Sheila Johnson
from testimony but Frias-Colon still used her in her 1-29-2020 disposition and contrary to facis
provided; deprivation of cross-exam that she so ordered.

8. #22 of Dwight Kennedy's affidavit is misleading, per above-mentioned including his tendency
to mislead in his arguments to win a case, as was #19-#22 also misleading to a one-sided bias,
instead of facts of the matter.

9. #27 of Dwight Kennedy’s affidavit is incorrect, Ms. Wrobleski’s mom testified on 1-28-2020
and disposition was rendered on 1-29-2020 to Termination of Parental Rights result; appealed
as of 2-10-2020. Whereas the court of Frias-Colon stated that this plaintiff has schizophrenia
despite that none of the mental health service providers and standardized testing to the record
including the court’s evaluator David Usdan specified that this plaintiff has schizophrenia and in
fact David Usdan himself stated contrary to that diagnosis. Note: David Usdan; his office
personnel are the only mental illness founders in the records and history about me, all others
have a pattern of Anxiety, trauma from separation of my child from me diagnoses in unanimous
agreement that was not collaborated in any way. #27 is misleading to the non factual ideas that
Dwight Kennedy desires to sway this court to like the other parties in opposition. Robert
Rothman requested dispositional hearing on 1-28-2020 and was denied. The case matter has
been appealed as of submitied notice of appeal 2-10-2020.

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Additionally

1. The case matter about my son has been appealed to the Appellate Division First Dept. with
also having 2 prior appeals on Appeal and Writ of Certiorari request to the Court of Appeals in
Albany that are from the foundational parts of the case matter that 13-cv-08736 WHP Judge
Pauley decision in dismissal was that of venue to the state courts, that order was abided by on
my part where as | filed 2 appeals from 1028 (2014) prior, and trial conclusion for neglect finding
that concluded on 2-3-2015 days after Pauley’s order. Appellate Division First Department held
those appeals for approximately 5 years; when scheduling orders, civil practice law and rules
etc usually give a 9 month to perfect appeal wiih subsequent hearings scheduled so that usually
an appeal wouldn't take longer than a year. My appeals were conjoined, held for almost 5 years
and was denied on or about 3-19-2019. Despite numerous correspondences, contact attempts
to Appellate Division First Department who everybody on the record of the case knew exactly
where | was incarcerated at for 32 months, | was not given any notification, no correspondence
from the assigned counsel, and when | was released from prison it took more time for
compliance of Appellate Division First Department clerk’s office to give me the information |
needed to those appeals and the briefs eic to those cases to where | filed and was given a
leave fo appeal to the Court of Appeals by the Court of Appeals and not by the Appellate
Division First Department.

2. Additionally in the Court of Appeals, | was given opportunity to be heard as was all parties
therein | specified of this pattern of presenting lies and false information instead of the evidence
files, that case opposition parties distorted my image and the information to the court negatively
against me and negatively affected my civil rights, due process, equal protections, 14th
amendment rights per life liberty and property that parenting is a protected liberty interest of
mine that was violated and children and child custody are a protected property right most
valuable property of the parent, both of which was violated and caused of a great loss to me for
almost 7 years now.

3. Dwight Kennedy and the court was informed of his clients misleading him of facts on the court
records of the TPR docket of 7-9-2018, 12-3-2018 and throughout the TPR trial to where he
chose to continue in malicious prosecution, abuse of the processes anyway when he could have
withdrew and case planned his case to an alternative route in legal compliance irregardless of
the objectives of his clients that was illegal.

4, Dwight Kennedy is not a case party to this action because a court appointed lawyer does not
act under the color of law Rodriguez v Weprin 116 F.3d. 62. Dwight Kennedy was hired and
took orders from and representing Little Flower and their agendas.

5. Likewise for the Legal Aid Society who had a minimal role but was fully informed of the issues -

mentioned herein of the health and well being of the subject child and actually voted against and
refused to have outside services provided to the subject child when Legal Aid Society was

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charged to represent the subject child yet did not provide zealous representation for the health
and weil being of the subject child to have qualified services, ultimately the appointed lawyers
have no governmental power or authority, the courts and responsible agencies was informed
also.

6. The NYS Family Court of NYC LOWER COURT of LIMITED JURISDICTION case is being
appealed through the state court system and to the higher courts but is allowed to have a
concurrent Subject matter Jurisdiction federal court actionable case and this case is a separate
matter of civil rights abuse complaints and criminal activity from the defendants, parties and
privy parties affecting and afflicting the plaintiff and her son.

7. This case matter is about the various torts and civil rights deprivations and abuses commitied
by the defendant and privy parties in regards to matters about me and my son together, so as to
retrieve all relief necessary to this plaintiff, and in that the determination may affect the State
court case but not the judicial functioning or abilities of the state carrying out its judicial role,
because these torts, fraud, and tampering with court record contents and actions that | am
alleging occurred by defendants and privy parties was in fact affiliated to the state court case
action and within the reality that the state court has made for my life for the past 7 years where |
had to interact with such parties that is where such alleged and proven actions have occurred.

8. The action is not a direct case action to a state court case action, contrary to Younger
Abstention and or any Abstention that provides that federal court may abstain from an action
that would cause an undue interference, standards.

8. Contrary to the hopeful arguments of dismissal put forth against this case action, the NYS
Family Court of New York County is a lower court of limited jurisdiction that has the appeals in
place; and this federal court | presented federal question and matters to in complaint of per civil
rights action that alleges and provides exhibits of the defendant parties responsibility and
actions of conduct violating federal !aw and constitutional rights in a separate federal question to
this subject matter jurisdiction court who has Subject matter jurisdiction over federal questions
or diversity of citizenship matters.

10. | have sought justice and exhausted state means, agencies and authority, administrative
through the state court system and city and state agency and administrative methods who have
had the capacity to affect the situation to ensure that it was reprimanded when necessary and
directed and supervised over per necessary to keep things in accordance to law and jegai
practice and from deviation where as such was failed by state level and became a subject
matter of federal question.

11. | have sought damages recovery that if the amount is too little or too much a remittitur or
adjustment can be made by the court. Either way | contend that | am entitled fo damages even if
the Court had to comply to not give me my son back the facts would be presented to the
intermediate and higher state courts for their state judicial functioning to not be impeded upon

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by a federal court and that, up te this point | proved that the Foster Agency maxed him out in
foster care as was described to me by Keisha M. on 12-16-2014 when | signed the release of
information to her for them to have full access to all the service plan programs that | fulfilled, |
proved that the parties have not been honest and have committed fraudulent
misrepresentations minimally in the category of fraud, which would entitle me to compensatory
reliefs from damages received

12.1 am certain that in their described conduct, the exhibits, the law that this court will find that
the defendants and their privy parties worked against me, they did not work towards my civil
rights or reunification of custody, they caused my rights to be violated or condoned such, they
violated or condoned to be violated my Equal Protection Clause rights, defendants and privy
parties to my sons case matter case tampered and fabricated reports, defendants directly
involved with my sons case matier caused child trauma and they continued inadequate
treatment because such was by their own agency staff. All of this information that | provided to
this court | provided to the lawyers assigned to me who held such and refused to give such to
the court record, recited legal false reasons or ignored me.

in Response to the Affidavit of Marcia Werchol

1. Marcia Werchol’s statement in #1 is misleading, that she asserts that employees of the
company she presides over as vice president are “neutral” yet they have taken sides in records
that | do have copies of, and that Werchol asserts that her employees who she does not have
ability to Know of their every actions on or off records are unbiased or non-affiliated to a case
party. In fact she is unable to determine if the employees under her authority have committed
excesses, office gossip or had interactions with the defendants and their privy parties who are
functionally working at the same building.

2. Marcia Werchol’s statement in #6 is misleading that the case in itself is ongoing in the NYS
Family Court NYC, but that this plaintiff nas been removed on 1-29-2020 in an ordered
termination of Parental rights, so that this plaintiff is not to participate in any subsequent
hearings as mentioned in #6 of the Permanency hearing scheduled on April 24th 2020. PLEASE
NOTE that the affidavits of Werchol were signed and dated 1-31-2020; accompanied by
documents signed and dated by Chiarens Orsland (ALSO AFTER THE 1-29-2020 dated
termination proceeding) with dates of 3-5-2020, 2-26-2020.. (Which shows the exact same
relaying of false information that | am filing in this federal court about whether it is mistaken or
fraud of Rule 9(a) and 9(b) of F.R.C.P. that has affected my case in their reckless prior state
court proceedings), and in gress negligence and intentional disregard for the law.

Reference EXHIBIT P order of termination 1-29-2020, EXHIBIT Q werchol statement and
Hoffman order for MHS not David Usdan specifically

in Response to Chlarens Orsiand, Corporation Counsel's Motion to Dismiss

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1. Chlarens Orsland’s brief mention of the case presented in Article 78 to the NYS Supreme
Court NYC against David Usdan to grant injunctive relief that was not in the limited jurisdiction
capability of the NYS Family Court NYC but because of the justiciability and the type of
jurisdiction that although NYS Supreme Court NYC is a lower court in itself it holds a separate
type of jurisdiction that is not so limited as the NYS Family Court holds that the NYS Family
Court could not give the same injunctive relief or trial hearings that an Article 78 gave specific to
the State Supreme Court. NYS Supreme Court has 3 types of jurisdiction, Origina! Jurisdiction,
Exclusive Jurisdiction, Concurrent Jurisdiction, and can hear practically any kind of case
including in Family Law where if it is a case more worthy of the court to its limited subject matter
jurisdiction it can pass such to that cour.

Additionally Chlarens Orsland’s action in this was misleading to his cause as the following is a
brief and true account of that circumstance (Reference EXHIBIT R NYC Supreme Court
motion to dismiss and Opposition of in David Usdan case}

2. Corporation Counsel is very ignorant to the facts of what they attempt to argue to this court
for dismissal literally as if they resumed from gossip and noi actualy reading documents.

in response to Corporation Counsel's Point 1:
1. The case of TPR concluded on 1-29-2020. Reference EXHIBIT P

2. The case filed in this court was of a civil rights compiaint matter of abuse, fraud and
malpractices.

3. Point 1 does not apply because on page 13 of Chlarens Orsiand’s dated declaration of
service of March 5th 2020 was approximately 5 weeks after the termination of parental rights
trial conclusion of 1-29-2020. Reference EXHIBIT P

4. The civil rignts complaint filed in this court is for separate VIOLATIONS from case related
parties where defendants infringed upon my civil rights and committed malpractices, abuses,
fraud etc

5. The State Family Court is a lower court of limited subject matter jurisdiction, in that | am
correct in my venue with my federal question matter to this court determining if parties actions
violated my rights, and to address reliefs, compensation, injunctive reliefs etc that State Family
Court has no provisions to provide such service or jurisdiction to matters of federal district court.

6. Similarly, | sought venue of the State Supreme Court that is also a jower court but of
unlimited subject matter jurisdiction, where { fited an Article 78 that is exclusively filed in that
type of court and not in State Family Court, where | sought to have the defendant David Usdan’s
30 page report overturned rendered null and void in injunctive relief. | exposed to the State
Supreme Court that David Usdan committed fraud in approximately 12-2018 before his report

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was released to me on 4-15-2019 in court proceedings. Reference EXHIBIT R. Chiarens
Orstands argument and 2. Opposition motion

in response to Corporation Counsel's Point 2:

1. On court record 11-25-2019, there was a controversy if David Usdan did not meet the criteria
to be an expert, but | was then told that he was determined to be such. Reference EXHIBIT S
David Usdan’s resume

2. David Usdan has no mention of formal forensic psychology education and experience on his
resume, that in comparison to Dr. Alan Ravitz who was declared an expert, and did not agree
with David Usdan, to proceed on record with a formal education background in forensic
psychiatry degree obtained. Reference EXHIBIT T Aian Ravitz resume

3. David Usdan’s resume lists a limited range of experiences and general psychology education
pertaining to a select group of individuals such as homosexuals, homosexuals with HIV, some
adolescents and parents.

4, This plaintiff contends that fraud, malpractice isn’t a job duty or acting in official capacity to be
included in quasi-judicial immunity.

5. Younger Abstention does not apply to this case actions because 13-cv-O8736WHP and
18-cv-08208VSB are 2 different case filings that 1. Was at the topic of removal and actions at
that time, and 2. Is at the topic of civil rights matters of this time period. Of 2 different time
periods. Reference EXHIBIT U of eartier refutation pages to the Younger Abstention

in response to Corporation Counsel's Point 3:

1. Paint 3 is refuted by the contents of the facts to the amended that the City agency customs
and practices, not written policies, was that they had a position of official capacity over the case
party defendants and rejected to address complaints to them not just from me but from the City
Public Advocate Office on my case matters that my son and | was being violated by agency staff
within their supervision.

2. The following agencies was informed with various complaints detailing the legal maipractices,
child being deprived of adequate and qualified services, malicious prosecution actions, abuse of
ithe processes from lower court case related parties, and did a minimal job of relaying to ACS for
investigation but ultimately refused and rejected to do a job duty to address the matters
complained of to them:

- The ACS Commissioner

- The ACS office of Advocacy

- NYC-OCFS

- NYS-OCFS

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- D.0.] Laura Milendorf special investigations of ACS complaints
- Appellate Division First Department
- Appellate Division First Department Attorney grievance Committee
- The NYS Family Court NYC
~ The Commission on Judicial Conduct
Reference EXHIBITS B and O (2018 and 2019 reportings)

3. As a result of the above-mentioned listed parties negligence, my case was opened for 6 and
a half years, with various abuses that was allowed as a result of no actions against the
defendants and privy parties in addition to violating ASFA that gives CPS a less than 2 years
timeframe to establish a case and determine permanency rights at or by 22 months in foster
care, not 76 months later.

4. | diligently cooperated, complied and completed al! of the service plan programs in the 39
months of the case before my incarceration, thereafter 32 months incarcerated | did exceptional
efforts, diligence to maintain a meaningful familial relationship even when my son was deprived
of supports to be abie to reciprocate a family relations or as Santosky v Kramer states when
familial bonds are weakened... and completed the ACS Service plan programs a second time
during incarceration and provided proofs to Little Flower. Then after released from incarceration
and contrary to the sworn affidavits of Little Flower staff, and for almost 5 months until
1-29-2020, | fully complied and provided supportive evidence to Little Flower staff to support my
mental health stability, my retention of program informations learned, that under parole
supervision | completed various programs and provided those proofs that was supportive to my
case of receiving return of child custody to me. Reference all EXHIBITS

5. | was incarcerated at 3 years and 3 months after my son was taken and the ACS case
original docket began, with the sub docket for TPR filed slightly prior to my incarceration.
Reference EXHIBIT E, K, M, 0

6. During and after my incarceration each party refused their compliance and lied of my mental
health to a case win in malicious prosecution. Case parties introduced various false informations
to the case record, Reference EXHIBIT K, O

7. David Usdan distorted the contents of mental health and records to the case action that he
was given to review for his and in his 30 page report submitted in 11-2018, released to me on
4-15-2019 and used in 2019-2020 proceedings and conclusion. Exactly fabricating like ACS law
department introduced fabricated assertions that negative things were in the Bellevue file
evidence record that was not there in nor did they provide a copy of that page, exhibit, to the
court record as proof to what they were talking about. Ultimately its not expected David Usdan
would provide copies but the same patterned behaviors, fraud scheme, topic of defendant
actions of my civil rights complaint to this court carried into his practice where as he had ability
to meet with the opposition parties in normal office interactions because his office was in the
same building as the court. Reference EXHIBIT 3 of amended

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8. | assert that it is not coincidence, mistaken, or craziness that parties in opposition of this
defendant in the same case matier committed the same pattern of fabrications of documents,
replicated over a 6 and a half year long case maiter until successful achievement to malicious
prosecution case conclusion desired outcome was obtained.

9. The City liability claim is that the agencies responsible and the case related parties acting
under color of law (City and state level) was complained to of the malpractices, misconducts,
iNegal practices and did nothing in a custom and practices covered as said “custom” in Monell
case and not specifically limited to “policies” that are written; declared. The agencies was
charged with official capacity to intervene in agencies under their supervisory authority and as
previously asserted above-mentioned herein this opposition the list of city and state agencies
that was notified and proven in exhibits condoned and allowed through inactions, ignoring,
refusing to do a job to ensure in an official complaint that the parties are investigated and that
the proper reforms are achieved whereas the case was condoned to occur as it did with all the
violations therein because city agencies was complained to whos expressed job was to
supervisory, investigation, reprimands, reforms etc and they instead allowed my rights to be
violated, that allowed my rights to fair impartial procedural and substantive due process.
Reference EXHIBITS B, O efc

10. | lost 6 and a half years of parental rights and custody thus far because of the actions of
defendants and privy parties actions. | suffered severe distress solely from the separation of my
son fram me and the abuses performed by defendants and privy parties. | suffered financial
losses, financial stability losses because | had to attend to their programs, visits and courts
every week, but Mostly in distress was from separation because they wasn't always direcily
abusive: and there was a lot of hope given when they seemed to play fair and do a job.
Reference Mental Health records in EXHIBITS B

41. The training of the city parties to the city defendant, to do a job, remain on a job, and noi
tainted by corruption or personal feelings is a city obligation. It’s called quality service.

42. When Appellate Division First Department held my 2014 and 2015 appeals until March
2019, | informed Albany’s Court of Appeals that parties lied and fabricated. | was told by a third
party that they issued Writ of Certiorari ta obtain the complete NYS Family Court case record of
mine dating back to 2013.

13. City parties did not react to give any address to problems complained of to them even in
giving the subject-child qualified mental health and OPWDD services per serious diagnostic
impressions. The Little Flower parties have continued to deprive the subject child of services
from past to present whereas they only allowed unqualified, nonclinical, inadequate, “Play
Therapy” program coordinated by the Little Flower social worker employee defendant Barbara
Simon. Despite that the subject child has DSM-V serious diagnoses that only clinic MHS deals
with, not program providers and foster agency make-shift mental health services from LCSW

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staff who are not operating in or under an official clinical capacity with a team endeavor of
monthly psychiatry review, and psychologist collaborations. Reference EXHIBITS B, O, K, |

In response to Corporation Counsel's Preliminary Statement

1. This case action merely involves parties of another case action because of perpetrated
circumstances.

2. The NYS Family Court is a lower court of limited subject matter jurisdiction that can not
function in capacity to the venue of this federal district court, or as previously filed NYS
Supreme Court capacity to provide the reliefs specifically sought to indirectly related
matters that ultimately would not affect the judicial functioning of a state lower couri of
limited jurisdiction simultaneous to a federal district courts involvement to a separate,
unrelated matter of perpetrated acts in violation of civil rights, federal question maiter.

3. This Section 1983 action is not specificaily as stated “she alleges that employees of Little
Flower, a private foster care agency with custody of her son, have unlawful and unfairly
pursued the family court proceeding and violated her rights.” but that defendants and
privy parties committed actions of fraud, legal malpractice, gross negligence to an official
job capacity, malpractices, abuses and civil rights violations.

4, Plaintiff alleges similar to David Usdan also and not the mere, misrepresentation attempt
to deprecate the seriousness of fhe actions of David Usdan by stating “unfairly evaluated
her and issued an inaccurate and defamatory evaluation to the Family Court”.

5. David Usdan’s report is more than defamation, he lied and had no knowledge of
legalities even when | explained them to him, like when j explained my 2006 evaluation
report that | got my ass beat, or commonly known in Pennsylvania as meaning | was
disciplined with corporal punishment. | explained to David Usdan that when | was rarely
hit by my step parent for my crimes, it was in compliance with Pennsylvania’s spanking
laws being that corporal punishment was legal and was in the public school system while
| was growing up but was taken away when | was in approximately 8th grade. | explained
corporal punishment is not domestic violence. In reports by David Usdan to the court he
silenced these Full Faith and Credit Clause interstate state government respect claims
and specified that that corporal punishment was growing up in a house of domestic
violence, despite that domestic violence is a spanking on the backside but constitute
violence and abuse actions of beating, biting, hitting, punching, kicking, verbal and
psychological abuses etc. Additionally in his report he fabricated that ! confessed mental
iiiness (BPD) symptoms to him that | know i never felt and never told him of such things,
was his action to make me fit a Borderline Personality Disorder profile criteria so as to
have that diagnosis. The honest services and testing of other long term MHS providers
to the case record provided a genuine absence of. Anything in records that did not have
a storyline to it, attriouted such directly to me as the source or records when David
Usdan created a story to fill in the blanks to a negative conclusion. No other mental
health recerds provided behaviors or stories similar to David Usdan’s reportings in my
case matter or prior to my case matter in my life.

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10.

11.

12.

13.

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The Younger Abstention was previously refuted to Hon. Louis L. Stanton in this case
matter, reference the 118 page reply or Reference EXHIBIT U: Younger Abstention
refutation pages per 118 page reply to Louis L Stanton’s calling into question
younger Abstention to the case matter

The Family Court TPR proceedings have finished and have no upcoming dates
scheduled for my appearance to the record, or even allowing me to aftend the 4-24-2020
permanency hearing. This occurred 5 weeks prior to Corporation Counsel's 3-5-2020
dated motion to dismiss. Reference EXHIBIT P

The ignorance to case facts fram Corporation Counsel and other parties is the exact
matter of Rule 9(a) and Rule 9 (b) Fraud and Mistakes assertions that this plaintiff is
bringing and shown a pattern of in defendant parties and privy parties actions.
Again Corporation Counsel brings a ripeness allegation against me as occurred in
previous NYS Supreme Court Articie 78 action against David Usdan, when the reality is
these actions have a statute of limitations that Corporation has seemingly disregarded
and expected me to wait 6 years in the Family Court case, and years after for results that
the defendant parties actions, and the privy parties actions have fabricated over.
Corporation counsel has tried to eliminate venue of anything co-related to the Family
Court matter to be only the jurisdiction of the Family Court when the Family Court is a
lower court of limited subject matter jurisdiction and does not have authority to take
different types of cases or grant the reliefs of different types of cases that other courts
provide. Additionally Farnily Court has offered the exact same results and reactions in 6
years sticking to the curriculum and has given full credits to job holding agency parties in
opposition of the respondent who committed fabrications, and lied on the court record
and was caught in those lies and fabrications. Corporation Counsel does not have power
and control to determine where a case should be at, and has had no regard for the
actual lower court limited jurisdiction position of the Family Court and the statute of
limitations surrounding and affecting incidents of separate civil rights, fraud, abuse,
waste of government funds etc that affect ail types of state and federal penal actions
except capital offenses such as murder. Reference EXHIBIT R per ripeness

The NYS Family Court has concluded the TPR trial on 1-29-2026 to a termination of
parental rights order and has closed the court’s future proceedings to exclude non
parties as was told to me by my assigned counsel and thus is no longer available to me
pending appeals. Reference EXHIBIT P

immunity does not cover officials violating clearly established Constitutional rights or
federal! law, which is unconstitutional to violate

Immunity provides that “so long as officials are acting within their scope of their duties’.
Within the scope of the duty per the court order of Douglas Hoffman for the FCMHS to
perform an evaluation, scope of duty did not cover fraud, malpractice that is clearly
visible

| contend that David Usdan should and would not qualify for immunity that the FOMHS
itself qualifies for the immunity as per the court order from-being sued for damages and
fits the criteria of acting within the scope of the duty, but that David Usdan himself had a
choice in the matter and was not under a compulsion order to produce services. |n fact,

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14.

15.

16.

17.

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when and at any time David Usdan felt that he could not fulfill the court order fairly, or
professionally, he could have excused himself from the case in request to the judge or
his administrators to seek a reassignment of personne! to fulfill the court order. Instead
of deviating to fraud and malpractice, away from the scope of duties assigned to the
FCMHS entity, firm (corporations are considered citizens). Similar to now a judge would
recuse themself, a bailiff can be reassigned also, persons who are covered under the
immunities clause.

At any time that David Usdan felt that he could not control his emotions and do a job he
could have asked NYC Health and Hospitals Corporation MHS office Vice President
Werchoi to re-assign the case court ordered to the office, to another staff member.
Reference Werchoi declaration EXHIBIT Q his superior

David Usdan had 2 interviews of 2-1-2018 and 9-22-2018, where he notified the court
that he was unable to come to a conclusion, not ready, needed more informaticn from
other records that was irrelevant to the case that | provided him with, and literally took
over 7 months deliberations on the matter of an evaluation that | sat the first time in for 6
hours with no food or water and was woken at 4am to travel to and attend from jail, that |
gave him a meticulously detailed timeline of my entire life from 1980 until that moment in
time, and answered all of his questions logically and rationalized what exactly | was
thinking when | did things. That on 9-22-2018 David Usdan’s second interview
requestioned the same things gathered from the first interview and was given the exact
same answer because my truth didn’t change. | provided a detailed timeline of the
contents of both interviews to the NYC Supreme Court Article 78 12-2018 filing before |
was even given a copy on 4-15-2019 of David Usdan’s report, proving my credibility
against his, | have been treated unfairly because | do not have degree credentials and a
job position equal or higher to defendants and case parties which is classism
discriminations efforted against me and part of this complaint matter. Reference case
Wrobleski v Usdan 100158-79

David Usdan performed both interviews with me at the Family Court building where he
could have brought a recording device to help his memory and substantiate the entire
matter but he did not.

David Usdan had options and was not under an imposing obligation from the court that
personnel like Court officers are under, per immunity contexts and criteria.

in response to Corporation Counsel's Statement of Facts

1.

Plaintiff did not and is not using this court to challenge a then or not ongoing Family
Court proceeding or to use this federal court to impede on a state court's judicial
function, but to bring a federal question matter civil rights complaint and fraud complaint
that merely involves parties of my Family Court matter

Corporation Counsel’s statement of facts is laden with misconstrued, misleading
information

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3. Barbara Simon did not recommend the subject child to qualified services and continued

to render insufficient, inadequate services from herself and kept him in her caseload.
Reference EXHIBIT |, K

_ To say that Little Flower collaborated with David Usdan is misieading, | expiained that
Little Flower staff SUBSEQUENT to ACS staff did case tampering fabrications to cover
fhe evidence record contents by issuing reports with false information (in comparison to
the evidence record) against me that was not true. Subsequent to that David Usdan
utilized the same method which may or may not have been made obvious to him in the
records that he reviewed, but subsequent to David Usdan was Legal Aid Society who
issued fabricated verbal reports and inputs to the court transcript record after the
completion of David Usdan’s testimony where as before they only remained in unison,
biased to ACS’s decisions and agendas, asserted pro-adoption stances at the expense
of the legal standards, and refused zealous representation of their subject-chiid clients
mental health and well being qualified services needs and became confused that the
subject child was doing well because monthly fabricated court reports from Little Flower
staff asserting that the subject child was doing well but the bi annual reports and the
reports from mental health and education records depicted that he was deteriorating in
the foster care from reports at 24 months foster care til present (after the ASFA of 1997
15.22 months foster care criteria was abandoned by defendants and privy parties).
Reference EXHIBITS I, K, EXHIBIT 3 of the amended Ms Gomez refuses to take her
medication (i never had that last name and was not prescribed or offered
psychiatric medication at Bellevue)

David Usdan described my anger at his provoking actions and causing me to have
anxiety attacks as aggression and parties contended that aggression is illegal; violent
behaviors despite that this defendant has only been assertive, aggressively assertive to
verbal reprimanding actions only when others try to lie or steer the topic away and has
never commitied violence as it’s true definition is towards the defendant parties, Family
Court case related parties, and has always resorted to appropriate verbal only assertions
(except on 9-12-2014 incident) even if the case parties had to be interrupted and hated
what | had fo say.

_ Yes Sheila Johnson fabricated court reports and told the court in her 6-20-2018

testimony that this plaintiff was “violent in 2016 always at her” did not report such to the
police or the court or anybody prior to her 6-20-2018 changed testimony and ultimately
rendered a procedural due process of law enforcement and court investigations or
retrieval of any form of evidence, subpoena of the agency video surveillance as
impossible, except that she reported to the ACS Connections fog record and court as
good visits Reference EXHIBIT E and EXHIBIT A

. Similarly Little Flower staff lied to the court stating ‘that | punched the supervisor Keisha
Maiphurs in the face (to the court on 12-2013 or 1-2014 court appearance requesting
visit suspension) wherein | immediately sought subpoena of the agency lobby camera
and the presiding judge of that time ordered an investigator to review the cameras after |
asserted | never did such a thing and why wasnt cops called if | did.

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David Usdan also distorted contents of the records on the Family COuri case to collude
allegations of behavioral health consistent to ACS petitions and Amended of 2013 basis
of removal.

This case matter, contrary to Corporation Counsel's assertions that all allegations arise
out of a Family Court proceeding is not true and that this case action brought is not using
(in repetition to 13-cv-08736WHP) this federal court as a platform fo vent on but that this
matter is a true and valid federal question matter, civil rights compiaint into deeming
defendant and privy party actions as having violated and contributed to vioiating this
plaintiffs civil rights and federal law (fraud practices, Rule 9 (a) and (b))

in response to Corporation Counsel's Prior History Section

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Plaintiff filed an Ariicte 78 in NYS Supreme Court NYC in 12-2018 approximately after
the second and last interview with David Usdan who said to my face that he would say !
have BPD and Bipolar to the court and a tong history of mental illness that | refuted
again to him stating | do not have a long history of mental illness | have 2 separate
incidents of mental health services, after misconsiruing my 2006 evaluation report MHS
history of 2 separate matters 1. As a teenager that did not carry on into adulthood
provenly, and 2. An adulthood anxiety diagnosis in 2006 at age 26 that David Usdan
said was BPD and Bipolar, whereas that specific evaluation gave a letter after |
discussed permission to testify to a court of his report and findings that he specified to be
contacted for his testimony to testify of his own report that he was contracied to do from
a federal agency about my capacity to go to school for a federal level program that also
had attached my college transcripts 3.29 G.P.A and that | was on Dean’s list most of the
time. That was detailed to the NYC Supreme Court before the 30 page report in question
was released to me on 4-15-2019. Reference EXHIBIT R and Reference case
Wrobleski v. Usdan 100158-19

In Article 78, | requested that David Usdan be deemed as the exhausted administrative
remedy as he self-proctaimed to the record that he was the Director of that FCMHS
office. And that the court proceed in Article 78 matter with the relief sought to overturn
David Usdan’s decision report and render it null and void

in Article 78 | established that the agency David Usdan worked for was from the New
York City Health and Hospitals corporation and thus a corporation subjecied to Article 78
of the CPLR 7806 a corporate entity that can be subject to an Ariicle 78 matter.

Carole Edmead of the NYC Supreme Court, presided, and held ihe exact same
viewpoint as Corporation Counsel Chiarens Orsland who was assigned to the case from
Corporation Counsel’s office. Held that no other venue had ability to deal with David
Usdan in my case:matter except for the Family Court, that included investigations,
reprimand, due processes, and unethical conduct.

Carol Edmead put the Article 78 subject matter in the jurisdiction of the NYS Family
Court, a lower court of limited subject matter jurisdiction that does not offer Article 78 of
the CPLR or the specific injunctive reliefs to render on an accessible docket record that

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such 30 page report determination be rendered null and void and overturned to all
affects that it could possible have now and in the future. |
NYS Family Court NYC maintains limited subject matter jurisdiction that inculcates
maiters from the Family Court Act, Domestic Relations Law, Social Services Law and
some Civil Practice Law and Rules aspects, in a limited capacity and not entirely as
Domestic Relations Law grounds are shared between NYS Family Court and NYS
Supreme Court jurisdictions. Family Court is exclusive to Child Protective Services case
matters. David Usdan is not Child Protective Services. Family Court shares jurisdiction
over child custody cases with NYS Supreme Court

Judge Edmead is not a justice, she is a lower court judge

Judge Edmead agreed solely, and not of her own determination, to what Corporation
Counsel provided in motion to her,

Judge Edmead’s decision does not create case law or contend suddenly that her
decision is legally binding to all other courts without regard to their findings if such is in
fact legally binding and without calling into question or proposed to turn a blind eye to
the matters called into question because of her previous determination. That ethical
conduct is reserved solely for U.S. Supreme Court justices that Edmead is far removed
from.

Judge Edmead is a lower court judge, whereas NYS Supreme Court is a iower court of
unlimited subject matter jurisdiction and thus under those terms The venue to Judge
Carol Edmead was a qualified venue.

NYS Supreme Court hears cases on the Family Court Act, Social Services Law,
Domestic Relations Law but sends cases specific to child protective services, and child
custody of unwedded mothers to the venue of the Family COurt’s limited subject matter
jurisdiction

The matter presented to Carol Edmead was a separated matter of Article 78 action and
reliefs sought against David Usdan from a corporation to over turn his agency decision
and render it null and void (to the capacity that another would have to be performed in
order for that agency to fulfill its court ordered legal obligation) as is specific to the
purpose of Article 78 of the CPLR That created a special circumstance upon which NYS
Supreme Court venue could be sought and because Article 78 is not in capacity of the
Family COurt nor the ability to grant the same reliefs whereas through Family COurt the
report would remain on record.

in response to Corporation Counsel's standard of review and Extrinsic material and Rule
12(b)(6)

The FCMHS Werchol statement and Article 78 decision are not evidence and are not
relevant information in support of why this court should dismiss my federal question
matter civil rights complaint

In response to Corporation Counsel’s Point 1 case law in support of this plaintiff's case and not

their argument

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. Removal of Jurisdiction can occur and sometimes exists for the defendant of a state

case to move a civil action filed in a state court to the U.S. D.C., 28 U.S.C. Section 1443
et seq. Titled Civil Rights Cases, Removal of cases from state courts was previously
addressed to this federal district court in this case maiter that this piaintiff requested the
state court action to be transferred to federal court for trial purpose to the state interest
matter under the explanations that defendant and privy parties was violating this
plaintiff's civil rights to a malicious prosecution affect within the court proceedings and
case matter that was subjected to the state Family Court, and as per Rule 9 of the
Federal Rules of Civil Procedure 9 (a) and 9 (b) Fraud and mistakes was continuously
being perpetrated against and in gross violation of this plaintiffs civil rights and the
Family Court case matter to a fixed outcome that malicious prosecution focuses on the
one-sided win agenda.

. This plaintiff did reach out to federal court in complaint filings and consistent to case law
cited by Corporation Counsel per this section Point 1,

_ This plaintiff sought injunctive reliefs described of returning my son to me but consistent
to above-mentioned filing actions of seeking removal of jurisdiction per Rule 9(a) and
9(b) vialations to the case record and this plaintiff

. Plaintiff suffered denial of 14th amendment protected liberty interests and child custody
protected property interest per deviations of fair trial, defendant and privy party actions of
fraud, misconduct, maipractices, abuses etc.

. Parties under color of law is that pertaining to one or more persons using authority given
by a governmental agency from city, state, or federal to act in unison with city, state,
federal agencies; governmental agencies policies, decisions etc. including legislation. To
violate that is when those parties act outside of their official duties to deprive a person or
conspire willfully to deprive a person of any right protected by the Constitution or laws of
the United States.

. The actions of the City privy parties was that if they choose to get involved it is under
their individually decided terms and not in accordance to a job function, policy, etc but
that they do not necessarily have to get involved no matter what the circumstances of
complaint matters are, is a custom and practice introduced into my case matter as a
course of action, whereas they often said to tell your lawyer, where they again made up
their own custom and practice. Reference EXHIBIT B and O

. This defendant named the defendant parties, Little Flower of private SUBCONTRACT to
ACS the City agency of governmental functioning under color of law. Little Flower also
acts under color of law to abide by FCA, DRL, and SSL statutory laws to their job
function as a NPO agency who is paid through foster care funding. ACS had official
capacity, and was supervisory of Little Flower but both acted under color of law and
mislead a state court action against me. Additionally ACS replied to address all
complaints solely to Little Flower and not them or the other city and state agencies to
that affect of NYC-OCFS and NYS-OCFS. Reference EXHIBIT B and O

. ACS gave Little Flower CFS authority to act under color of law in their case planning and
case involvements as a subcontracted agency under ACS

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ACS Commissioner had the official capacity to withdraw the case in light of a review that
provided grounds for a case was no longer present or did not exist, when provided
reasonable proofs, but instead they chase to continue in malicious prosecution

cach party acted under color of law and used their position to not fulfill job duties
consistent to legislative provisions but to provide false information to the state court in
malicious prosecution unsubstantiated opposition of the evidence on record.

As a result my constitutional rights and privileges were violated and so was laws
pertaining to fraud, professional misconduct, legal malpractices on their part.

This plaintiff sought Section 1983 and compensation remedies for the deprivation of
rights; per City of Okla. City v. Tuttle, 471 U.S. 808, 816 (1985); Annis v. Cnty of
Westchester, 136 F.3d 239, 245 (2d Cir. 1998)

This plaintiffs constitutionally protected liberty interest in the care, custody and
management of my son was violated by defendants and privy party actions and lack of;
per substantiated by Southerland v. City of N.Y., 680 F.3d 127, 142 (2d Cir. 2012)

This parent provided complaint to this court of deviations from procedural due
processes, that this parent assertively informed the state court who the presiding
threatened me to throw me out, censured my participation, often silenced me and
reacted with hostility at any of my participations throughout her time on the case.

ACS acting as a state prosecutor: a petitioner of the case matter, among various roles in
the case matter, as a state actor under color of law was informed in letters, in verbal
confrontation of presenting facts to thm and on the actual case record, and they refused
to withdraw their case and labeled my information as mental illness.

In description of the defendant and privy party actions here in in the opposition motion;
and amended complaint, | believed that | fulfilled proving that the facts show that the
state action was so egregious, so outrageous that it may fairly be said to shock the
contemporary conscience.

This plaintiff provided extraordinary circumstances to file a separate civil rights complaint
action invalving case related parties, in refutation to Younger Abstention, Younger v.
Harris

This case is not the same as 13-cv-O8736WHP removal and complained of matters, this
case matter is of actions after the 1-31-2015 Judge Pauley dismissal and some initiated
near the time of that dismissal! actions that caused a deprivation of rights, liberties and
diminished qualify of life.

This federal question matter and civil rights complaint is not mandated that the court
absiain from hearing this matter under Younger Abstention. The Supreme Court
articulated a strong policy and not an impossibility. A strong policy against federal court
interferences in state court matters absent extraordinary circumstances. In that it is not
completely shut off to a complete bar.

This court is permitted to enjoin upon a case matter that has parties of another case but
is not directly interfering in the states ability to its judicial functions, impeding upon a
state case without lawful reasons, and can enjoin a co-related case that is not interfering
but is per its subject maiter jurisdiction of federal question and civil rights complaint that
the oufcome would not affect the state court but would have an indirect co-related affect

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because if it is so decided that the parties did commit violations in this federal court, the
state court may not ignore that although if is not directly affected in orders and
interferences or overtaking its jurisdiction

. City parties apparently fear that such would have an impact on state proceedings if a

finding of civil rights violations and fraud is found against the defendant clients

This matter is not an exercise of jurisdiction over a Family Court civil enforcement
proceedings and is not interfering in state courts ability to perform their judicial functions,
per Middlesex Cnty. Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423, 431 (1982)
and Sprint Communs., Inc. v. Jacobs, 571 U.S. 69, 73, 78 (2013): Faico v. Justices of
the Matrimonial Parts of the Supreme Court of Suffolk Cty., 805 F.3d 425, 427 (2d Cir.
2015)

This case is seeking monetary damages and the results would provide proofs needed to
higher court Court of Appeals that this plaintiff would not need direct injunctive order of
relief of return of my son from this U.S.D.C to impede on the Family Court's ability to
perform judicial functions to return my child to me; per Morpurgo v. Inc. Vill. of Sag
Harbor, 327 Fed. Appx. 284, 285 (2d Cir. 2009); Younger notion of comity 401 U.S. at 44
The state court proceedings are continued to a separate issue of subject-child absent
this parent who was issued TPR order against me and thus this plaintiff has no adequate
opportunity for judicial review not limited to limited and specific appeal rules and grounds
that are appeal maiters secured on the court record subject to appeal, but judicial review
in lower court to hear the entirety of a case matter who has subject matter jurisdiction of
federal question per civil rights complaint matters and whereas the state court has
previously refused to address complaint matters

in this instant case, the state court proceeding is terminated to an appeal phase that the
appeal is subject maiter to matters secured on the case record being appealed and
limited in that capacity and has history of intermediate Appellate Division First
Department foul play of holding appeals for 5 years which provides an imminent threat of
ongoing civil rights abuse threat

A child custody proceeding is not exclusive to state courts only. Reference Santosky v
Kramer

This plaintiff has a valid claim of federal question per civil rights complaint to this courts
subject matter jurisdiction

Chen Xu v. City of New York, No. 19-cv-3760VSB was not similar to this case matter as
the claims was completely different as was the totality of circumstances including proofs
made of a risk of harm because Chen Xu was said to have Munchausen Syndrome By
Proxy behaviors proven in a series of past medical history records, plural records
meaning more than one.

lt is a fact that state parties do retaliate against seeking city, state, federal complaint
interventions because they will proceed in their choices unless they are successfully
complained against where the place to complain, to intervene, reprimands and reforms
the circumstances in their iotality.

Corporation Counsel didn’t leave their sorority hazing and bullying days behind them that
they seek to insult me and try to equate me to Chen Xu’s guilty case, wishing that | was

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guilty wont make it happen and there is a difference between if | was actually guilty of
some forms of child abuse or neglect through inabilities from the fact that ! was not,
nothing was presented substantially to that affect

31. In my case maiter, filing a civil rights complaint under federal question and providing
proof, evidence to the court to decide pertaining to the violation of my civil rights is not a
collateral attack on N.Y. family Court or case parties and is not a scandal attempt as has
been always and ritualistically the attempts that Chlarens Orsiand of Corporation
Counsel has UNSUBSTANTIALLY accused me of with no description of exactly how |
did such, whereas | am describing exactly how defendants and privy parties did things
that constitute other things.

32. The Werchol declaration is false and misleading, that is the state proceeding has not
continued with this plaintiff and is irrelevant to the federal question matter civil rights
complaint of violations defendant parties and privy parties commitied. Reference
EXHIBIT P

33. This case does not satisfy Younger Abstention merely based on a requested injunctive
relief of return of child custody and excluding the compensation and civil rights complaint
matters etc. a requested injunctive relief of return of child custody which is injunctive to
liberty and property right under 14fh amendment Reference EXHIBIT U

34. Corporation Counsel’s Younger Absiention argument failed because:

a. Plaintiff asserted interferences of substantive and procedural due process among
other civil rights violations and allegations of the crime of fraud, that my son
should not have been held to foster care and foster care custody. That plaintiff
was given procedura! protections in court processes of types of hearings and still
proved in compiaints that the removal of custody and rights was fraudulently
tampered with and thus an unconstitutional deprivations of 14th amendment
protected rights occurred; (re Southerland, 680 F.3d at 152 and Okin v. Vill. of
Cornwall-on-Hudson Police Dep't 577 F.3d 415, 431 (2d Cir. 2009)

b. Case parties, defendants and privy party actions was egregious, outrageous and
not a scandal as attempted arguments from Frenché& Casey firm Ms. Kimundi
alieged

In response to Corporation Counsel's Point 2

1. Plaintiff alleged that David Usdan committed fraud and malpractice, with a specific ordered
duty from the Court that the ordered job function and agency it was ordered to may be protected
in the immunities method but not the illegal fraud and malpractice conduct

2. Corporation Counsel is implying that this court and others should legitimize professional
misconduct, malpractice and fraud actions under federal statute and through case law that
would allow persons like David Usdan to be granted Absolute Immunity from prosecution,
lawsuits after hired and fulfiling a job performance wherein they provenly committed honest
service fraud, deception, and deliberate and intentional acts of fraud, and that also through case
law when a person does the right think and files complaints to alert authority agencies to the
misconduct that if they decide to ignore or refuse those complaints that no federal court legal

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action can be brought for damages as a result of their actions and lack of that would turn their
job function into a whole personal discretion

3. Corporation Counsel’s page 8 argument alleges immunity covers illegal conduct of person's
given direction to perform a specific task, evaluation not a direction to commit fraud, an
evaluation that at any time David Usdan felt he could not be fair and could not do as the court
ordered and is expected to be done impartially, justly and not in professional misconduct, David
Usdan could have excused himself as he was not directly ordered but the agency he worked for
was. Reference EXHIBIT Q order to MHS and not David Usdan, David Usdan’s name was
not on the order

4. Honesty with an employer is that if you can not do the job you can go to your supervisor for
help or reassignment of somebody whe can or is more qualified

5.Absolute immunity defense relies on the nature of the function performed, per Snmueli v. City
of New York, 424 F.3d 231, 236 (2d Cir. 2005)

6. Under the docirine of judicial immunity, judges and certain judicial authorities such as special
referees are protected from civil liability through extension to individuals with actions functionally
comparable to those of judges. Per Antoine v Byers & Anderson, Inc., 508 U.S. 429, 435 (1993)
and Imbler v. Pachtman, 424 U.S, 409, 423 n.20 (1976)

7. David Usdan is an employee of NYC Health and Hospitals Corporation, ihe existence of
Article 78 of the CPLR challenges administrative decisions to an injunctive relief that includes
overturning, rendering null and void such decisions

8. | am contending that the Second Circuit immunity extended to court appointed officials does
not apply to David Usdan also because he was not directly ordered to do the evaluation for the
court, the court ordered FCMHS to do such and that was in the discretion of FCMHS to order
David Usdan to do such and net somebody else, or somebody who was already experienced
with the case matter from prior experiences.

9. Bradford Audio Corp. v. Pious, 392 F. 2d 67, 72-73 (2d Cir 1968) brought into question a
challenge in conduct and not an allegation of fraud and malpractice.

10. Corporation Counsel’s assertion of Supreme COurt has not specifically address the question
of whether judicial immunity applies fo court appointed officials is wrong because in my case
matter of Article 78 Wrobleski v Usdan 100158-19 NYS Supreme Court did, as a lower court,
create an order to that affect; result. Whereas maybe Corporation Counsel meant SCOTUS as
in Supreme COurt which that may be true there.

11. | am not seeking to have a federal court impede on a state court actions solely on the
grounds of procedural flaws under the guise of civil rights violation. | produced more than a

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violation in contentions; |'ve produced abuses and illegal activities, fraud and malpractice claims
even in the affidavits to this court.

12.Corporation Counsel has tried to deprecate the value of my case action to be baseless,
meager, weak allegations and a distortion from its true content. Reference Chen Xu case.

13. NYC agencies have created a custom and practice of pass the case back io the Family
Court instead of reprimanding, reforming, addressing compiaint matters to them of professional
and legal misconduct, malpractice and abuse, illegal conduct actions from parties within their
capability io address and address them as an agency superior to another. As provided by
Commissioner Hansell who was written to several times to review my case, ACS fabricated,
malicious prosecution behaviors etc and Commissioner Hansell refused to address and review
of staff beneath his official capacity to determine the potential of withdrawing the case etc.

14. The FCMHS agency was judicially appointed to assist it in its judicial responsibilities and not
an employee to fabricate and impede his personal decision onto the court through fabrications
and distortions (per Dilacio v. N.y. City Dist. Council of the United Bhd. of Carpenters, 593 F.
Supp. 2d 571, 578-79 (S.D.N.Y. 2008)

15. | am contending that David Usdan’s actions of issuing a fabricated report are of Honest
service fraud not covered by quasi-judicial immunity and that he was not under direct immunities
that the court order was directly to the FCMHS agency and not specific to David Usdan wherein
the agency still held the official capacity to terminate his job position based on his conduct but
chose not fo, and is a compromise to his ability io be enjoy immunities.

Reference EXHIBIT P

In response to Corporation Counsel's Point 3

1. Monell does not solely rely on written policies and | expressed customs and practices

2. NYC HHC is a city entity responsible for the medical and mental health as a corporate
entity, administrative decisions regarding quality of services regarding the underlying
agencies and acts under color of law, as does ACS and its subcontracts, DOI,
NYC-OCFS, Attorney Grievance Committee etc all part of the City infrastructure parties
and administratives acting under color of law and of my City liability claim whom agents
of committed injuries to my constitutional civil rights and causation of that and
deprivations in their failure to react customs and practices and defendant actions
complained of (per Hartline v. Gallo, 546 F.3d 95, 103 (2d Cir. 2008) and Monell v. Dep't
of Soc. Servs of the City of N.Y. 436 U.S. 658 (1978)

3. itis not evidence in the complaint that of a subject matter of believing (an internal quality
that is not external unless directly vocalized) that this complaint, to the misconstruings of
Corporation Counsel, to be more than a federal question matter of a civil rights complaint
action, but to be paranoia without evidence that ihe plaintiff believes that Usdan, case

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parties to the Family Court proceeding are biased, hostile, unfair and abusive towards
Ms. Wrobleski

Because the complaint involves complaints to various agencies under the City network
and various persons that created a pattern of providing the same responses, behaviors,
practices which resulted to be defined as focal customs and practices included to Monell
and not limited to written policies only with exclusion of unwritten actions. (per Walton v
Rubel, 2018 cites “custom” per policy or custom.

in Response fo Ms. Elizabeth Kimundi’s Motion to Dismiss

in response fo the Preliminary Statement

core

. This case action is not a scandal, impertinent or irrelevant allegations pursuant to Fed.

R.Civ. P. 12(f but is a federal question matter of a civil rights complaint action providing
allegations that not only your clients already lied to the court about and with proof given
from me but allegations accompanied with evidence of fraud, and civil rights violations
that resulted from your clients actions and caused harm, deprivations, losses etc.

It is not a matter of ripeness to say that a civil rights violation that occurred within a 3
year statute of limitations filing period, in a 6 year long overripe Family Court case that
included Appellate Division holding 2 conjoined appeals for approximately 5 years to
then say a longer wait until ripeness may or may not occur is due.

Litile flower is a private corporation that is subcontracted to ACS who is a City agency
under color of law, previously described herein acts under color of law in unison, and
committed obstruction of justice with other defendants and privy parties acting outside of
their official capacities to create a harm, corruption, deprivation etc in their actions of
fraudulent misrepresentations and fabrications. Reference federal administrative
agencies definitions that governmental authority extends to agents thereof and any
person acting on behalf of. With emphasis of absurdity.

Little Flower was a participant and under orders in a chain like fashion descending in
and out of ACS and the Family COurt that acts under color of law, whereas Little Flower
also contributed te those orders and decisions in fabrications, fraud, deviated from
practices (acting outside of their capacity to create a harm and in illegal conduct etc) that
would be like quasi- functions with a state interest governmental agency in the
department of Child Protective Services in accordance to Family Court Act, Social
Service Law, and Domestic relations Law capacity

In the Preliminary statement that Ms. Kimundi stated “Pro Se plaintiff's second amended
complaint alleges violations of various constitutional rights by private defendants and
public defendants in an unrelated Family Court proceedings” Ms. Kimundi

acknowledges that this federal complaint is unrelated to the Family Court proceeding
itself but alleged in a Family Court proceeding which the actions predominantly did not
happen at (but affected) the Family Court or during proceedings but was agency actions
outside of the court place or events that contributed to an influencing of the Familiy Court
against this plaintiff illegitimately.

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In response to Ms. Kimundi’s statement of facts

1. This pro se plaintiff was a respondent in a concluded Family Court T.P.R. proceeding that
ordered termination of parentai rights that is now subject to an intermediate appeai process to
the same Appellate Division First Department that held the previous co-related docket appeals
for approximately 5 years to then deny them without any report of review of fact to explain why
and has not abided by the memorandum that all 4 appeliates abide by the rules and practices of
the Fourth Department (that schedules appeals timely with 9 month perfecting of appeal time
period then subsequent scheduling orders that would hear a case within a year approximately)
Reference EXHIBIT V Appellate 3-2019 decision pages

2. The Family Court proceeding is of two concurrent dockets 1. Was filed by the ACS
Commissioner on behalf of the subject child under the age of 10 years old, and 2. Was a
termination of parental rights filed by Little Fiower.

3. The pro se plaintiff commenced a Section 1983 litigation action prior to the outcome of the
unrelated Family Court proceeding in venue of a federal district court per subject matter
jurisdiction and secured the compiaints on court record verbal assertions and proofs given to the
Family Court assigned counsel representing me to give to the Family Court and case parties an
opportunity to amend the situation along with securing my appeal information contents on court
transcripts where as the NYS Family Court lower court of limited subject matter jurisdiction
afforded no address to these federal district court complaint matters.

in response to Ms Kimundi’s standard of review

1. This plaintiffs complaints was of allegations supported by evidence and not mere “legal
conclusions” ( previous evidences was sent fo the federal district court as exhibits during my
incarceration ) and the intent in subsequent actions from the plaintiff is to fully prove the
allegations this plaintiff set forth

In response to Ms Kimundi’s Point 1

1. The plaintiff was a respondent in an unrelated Family Court proceeding to this subject
matter proceeding

2. Little Flower is or is net an NPO, but is subcontracted to ACS in subservience to
governmental Child Protective Service interests and functioning of fosier care,
collaboration on state court cases, influencing Family Court decisions and ACS
decisions within their reportings to those state agency and courts for or against
respondents to a quasi-governmental functioning position. Reference EXHIBIT W City
Comptroller Audit of Little Flower’s funding information subcontracted to ACS

3. Little Flower as described in all of plaintiffs complaints, allegations, evidence and
exhibits has not availed this plaintiff all opportunities and has in fact availed barely any
opportunities except superficial court compliances to reunification of custody.

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10.

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This plaintiff succeeded in all opportunities given to reunification of custody and
defendants; privy parties worked against that thus depriving this plaintiff of legitimate
impartial procedural and substantive due processes that others are afforded without
prejudice, malice, hostility, in equal protections of the law.

During the proceedings, under pretense of disruption, mental illness and behavioral
health allegations against my character, this plaintiff was silenced and censured from
participating on record, was threatened and reprimanded by the judge who was arbitrary
towards factual information offered from me and pointed out of the evidence on the
record to her and the court. Arbitrary in its meaning of not giving a reasonable reaction or
response to facts provided. This plaintiff was screamed at, ordered to only speak through
assigned counsel whom plaintiff did effort to speak through but did not fully comply to
present all the objections, facts, evidences provided to them and submitted for the
court's consideration that even was told to the judge who promised he would and
ordered that such was to happen (eventually). However, the assigned counsel, upon my
request, returned the evidences to me after the 1-29-2020 trial conciusion. Reference
EXHIBIT J

The plaintiff has been notified of the 4-24-20202 Permanency Hearing scheduled but
was informed on 1-29-2020 as plaintiff was read TPR order and dismissed from the
remainder of the proceedings that 4-24-2020 is a closed court session and plaintiff is not
allowed to attend or be heard at.

As Ms. Kimundi acknowledged the Family Court proceeding is akin to criminal
prosecution, this plaintiff as previously asserted to this court has been subjected to
malicious prosecution; illegal abuse and is violated from enjoying constitutional
protections, liberties and quality of life likened to a criminal case threatening losses from
parties and privy parties to a Family Court proceeding that is unrelated to this complaint
matter and is drawing into question the actions of defendant; privy parties and not the
“ongaing” state proceedings.

As previously asserted, the Younger Abstention does not apply to this case matter
complaint and federal question issue and this courts proceedings of litigation on this
case complaint matter is not directly interfering or in any way impeding on the state
court’s ability to perform its judicial function in.. [an ongoing] custody proceeding] per
page 6 and 7 of Ms. Kimundi’s case law citations (plural). Aiso why would | be penalized
for doing legal interferences through a federal court against parties who abused their job
position to create illegal interferences in the Family Court proceeding against this
plaintiff. The difference is that | am not doing an illegal action like the defendants and
privy parties did or condoned, | am doing a legal litigation action to rectify the matters the
defendants created.

This court with all aforementioned reasons should abstain from the Bukowski precedent
as this matter is in no way related or similar and should further abstain from any
dismissal that the opposition, defendants, have already brought

This case is not in any way factually similar to the Chen Xu case, not just because Chen
Xu was found to have Munchausen Syndrome By Proxy or was proven guilty in a series
of medical records of her actions compromising her subject child, where as this plaintiff

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is and was not but because the civil rights allegations and complaini is nowhere similar
or of the same.

in response to Ms. Kimundi’s Point 2

1.

Ms. Kimundi’s argument of ASFA is misleading to leave out that through ASFA, Child
protective services are given a timeframe of the FIRST 15-22 months in foster care
procedurally to have established a case and determine at or by 22 months the subject
matter of Child Permanency Rights and needs of a child to either be returned to
biological parent or termination of parental rights to an adoption enactments.

| fully complied; Little Flower and privy parties could not file for a TPR then and tried to
case build for 4 years after that time period given by ASFA, trying to make character flaw

 

that New York’s guidelines give MINIMUM STANDARDS and do not expect me to be an
excellent parent or even a good parent therein, but i definitely proved above and beyond
in parenting skills, love, and care for my son the subject child.

The defendants and privy parties related to the Family Court case matter have
committed abuse of the processes to use the legal system for what it is not meant for,
malicious prosecution to deviate the case and manipulate its due processes to create a
desired case outcome against this plaintiff from their illegal, misconduct, malpractice
actions to achieve a TPR and not the return of custody that was within their disposal as it
was in their disposal to other cases worse or equal to my own who may or may not have
cooperated to the extent that | did but nonetheless received their child back in a
procedural method, Reference EXHIBIT N

ACS funds Little Flower and the ACS is funded through state and federal funds which
makes Little Flower an indirect recipient, a quasi, a privy party, an accessory

ACS is a division of the Department of Health and Human Services (HHS.gov) and thus
funded. Provisions have been made for state and federal funding of child protective
services. ACS in return funds its foster care agency providers and parties. Reference
EXHIBIT X

On page 8, Ms. Kimundi acknowledges that ASFA mandates agencies to file a petition to
terminate parental rights and thus free a child for adoption in 3 specific circumstances:

- Where a child has remained in foster care 15 out of the most recent 22 months,
calculated as starting at the time of a finding of abuse or neglect or 60 days after
the temporary placement in foster care, whichever is sooner.

My son was placed 10-18-2013 from the hospital on a neglect by reason of mental
illness allegation. All service plan services was completed by 19 months of the child
being in foster care, most was completed at 11-12 months of foster care because of how
long programs was in length and amount of compliances to complete which included
housing and other standards that was not mentioned in the service plan report but that is
MINIMUM STANDARD guidelines of the ACS, | could not get a housing or job situation
in New York City so | moved nearby, 2 hours away to Philadelphia and was able to have
work and housing there per the drastic change in cost of living economic standards and

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11.

12.

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capabilities. Little Flower refused to let me go to PATH Family Shelter under an ACS
referral to have case progression to unsupervised visits, weekend overnight stays, trial
discharge and case discharge as per procedures and policy instead they had me apply
at NYCHA which was a long process of about a year in length that ultimately denied me
even when | fully complied to all they asked of me. Little Flower made no efforts in my
case matter simitar to efforts they made in other cases or could have made in their
capacity of case planning.

TPR was filed in the original NN docket at approximately 10-2016, 36 months in foster
care. The amended TPR occurred approximately 11-2018, 61 months in foster care, and
the TPR was ordered on 1-29-2020, 76 months in foster care.

No attempts was failed at reunification because not only do | have proofs of full
compliances, that | saved everything from the case; for the case that ! was able to
retrieve but | also never, provenly never. committed #2 of abandoned my meaningful
relationship for a period of 6 months or #3 criminal conviction of serious offenses or child
related serious offenses.

Lite Flower was required to file at/by or on 22 months foster care with reasons provided
that Plaintiff never gave and not maliciously withhold earned and ordered reunification of
custody goal to case build and other legal malpractices. Little Flower staff always
provided false hope white they was withholding and deviating the case from what was
provenly eared.

Plaintiff asserts that plaintiff's ability to reproduce, reproductive rights are affected by the
actions of the defendants and privy parties who influenced a TPR decision with provided
fabrications and false information that under TPR plaintiff cannot reproduce in the state
of New York without a CPS threat of seizing the reproduced offspring.

Plaintiff contends this is an affect on her right to reproduce because of inequality to
others, stigma to cause a CPS removal, lack of equal protections under the law.
Reproductive rights may not be expressty or explicitly mentioned in the U.S. Constitution
but they could be a protected liberty interest matter for this court to decide upon per my
civil rights complaint and federal question matter, pertaining to 14th amendment liberty
rights.

My reproductive rights have been affected individual right to plan a family, fo terminate or
not terminate a pregnancy has been limited and sanctioned to a deprivation that
confines me to measures of contraception, pregnancy termination, and not allowed to
plan a family, as per page 9 Ms. Kimundi’s POint 3 assertions of what reproductive rights
entail. That reproductive rights are the rights of an individual to decide whether to
reproduce and have reproductive health. That includes the right to plan a family,
terminate a pregnancy, use contraceptives; gain access to reproductive health services.
Freely. Where as | am not free to that affect because of the illegal actions, misconducts,
malpractices of defendant parties that caused violations to my 14th amendment rights
and 5th amendment rights due processes clause that does not permit case tampering,
fabricating, malicious prosecution, in fact no policies, legislation in this country
legitimizes case tampering, fabrications, and malicious prosecution.

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In response to Ms. Kimundi’s Point 4

1.

Little Flower is a quasi city agency who acts in unison and in official capacity to ACS,
Family Court, under color of law (statutory FCA, SSL, DRL) quasi-governmental affect
and with authority from the state court and ACS governmental agency as a subcontract
with ACS a city governmental agency.

As specified in previous filings to this case matter, ACS was a defendant and is being
amended to be a defendant. Little flower is subcontracted to ACS, and functions under
color of statutes FCA, SSL, and DRI, quasi to ACS and under ACS supervisory authority
that ACS mismanaged and aiso neglected to address and ordered me to address
concerns solely to Keisha Malphurs when complaints was made to NYS-OCFS and
carried down to the NYC-OCFS regional office, ACS and Little FLower in that order,
despite that Little Flower would not respond or react in their customs and practices of
arbitrarily not producing a reasonable reaction to facts and issues presented to them,
ignoring and refusing to address compiaints.

My case is an individual case to not be dismissed under categorical dismissal attempts
to classify it pertaining to other cases but actually brings new case law arguments that
distinguish it as an individual case for federal question matters.

in response to Ms. Kimundi’s Point 5

| possessed a liberty interest

The defendants illegal actions caused a deprivation of my parental; custodia liberty
interested (per Giano v. Selsky 238 F.3d 223, 225 (2nd Cir. 2001) and Panzella v.
Sposato, 863 F.3d 210, 218 (2d Cir. 2017)}

The defendants actions to the Family Court case and case parties has caused a
deprivation in “.. and bring up children.” Their actions deviated both due processes, with
illegal conduct to cause and create a reaction of the state interfering with the care,
custody and management of their children.” That deviated from established due process
methods that do not bring in fabrications, fraud, lying and take out the context of
impartiality. Thus substantive and procedural due processes was violated by their
additional and illegal conducts (per Southerland v. City of New York 680 F.3d 127, 142
(2d Cir 2012); Tenenbaum v. Williams, 193 F.3d 581, 593 (2d Cir 1999) Per general rule
“before parents may be deprived of the care, custody or management of their children
without their consent, due process ordinarily a court proceeding resulting in an order
permitting removal- must be accorded to them” the defendants and privy parties actions
of fraud, fabrications, arbitrary responses and lack of responses of reasonable reaction
to facts, complaints to do a job function resolution to: matters of illegal activity,
misconduct reprimanding and reformations to allow a situation to play out in accordance
to rights and law and not tainted, corrupted, fabricated etc which was the actions of state
actor agencies refusing to reprimand and address complaint matters per their official
capacity, influenced and caused a deviation in legitimacy; impartiality of the enacted
physical due process “proceedings”.

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4. The defendant parties influenced and corrupted the case in various ways that in order to
abrogate constitutional privileges of the parent-child relationship to the Family Court
biased, naive judge, Little Flower staff fabricated reports and parties refused all outside
agency qualified and appropriate mental health and developmental health services that
would provide expertise and formulate treatment services to the serious diagnosis
impressions, and comprehensive, supportive, transitional services to reunification.
Instead, Barbara Simon, employee of Little Flower, giving “play therapy” and no
documented known treatment plans, is inadequate and underqualified to deai with the
serious diagnostic impressions that was impressed of my son subject child whereas the
appropriate venue of mental health and developmental services lie in clinical mental
health expertise per childhood development and Office of People with Developmental
Disabilities who would have reliable resources to assess and treatment persons with
delays and or disabilities to have a standard of quality of living. Barbara Simon and Little
Flower staff's remedy was parental alienation or as courts know the term PAS that is
adverse to mental health treatment and not legally permitted in many state courts to be a
resolve or reaction of any party in or around a subject child. PAS is not a known
treatment standard in mental health and is adverse to the purposes of mental heaith.

5. No mental health professional supported to the Little Flower presumption that deprived
the child of all clinical mental health services care and after displayed trauma at the
prison environment, coupled with alienated to the foster parents with no ability to assert if
he was being abused for wanting to visit me as he enjoyed being with me with no
supportive services to adjustments and coping with changes (because of the
developmental delays he suffered in and from foster care he has limited self expression
like a person who has not been taught)

6. The visit suspension was solely based on the prison incident of 7-6-2017 (the request for
suspension 5-18-2017 by the foster parents because he cried after visits and had some
separation issues from being given to me where he was good and taken away at visit
conclusions where he had separation symptoms after) and that the foster parents was
proven as liars in attempts to create reports thai alleged trauma after visits to get visits
suspended as not in the best interest of the child, but foster care providers offered no
qualified services except inadequate “Play therapy” to help him; they resolved fo commit
parental alienation and suspend visits. Douglas Hoffman presided over that 5-18-2017
case and ordered a 3 day home study of Sheila Johnson to attend the day before, the
day of and the day after the 6-1-2017 visit to observe the behaviors of the subject-child.
Sheila Johnson reported this to me and in her court repart she stated no abnormal
behaviors was found (that the foster parents previously reported to an expressed goal of
visit suspension) Reference EXHIBIT K

7. ltwas noted that the visits were suspended due to the prison environment being
traumatic per the 7-6-2017 incident where upon entry to the prison gates the subject
child began to cry and was refusing to get out of the car.

8. When | was released 9-4-2019 and sought visitation, Little Flower Barbara Simon
delivered unprofessional oppositional attitude letters to the court to explain why to give
me any visitation after she spent time (imposing parental alienation) to adjust the subject

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child to an adoption agenda that such would be adverse to their goals and planning
Reference EXHIBIT B. No visits was afforded to me after released from prison on
9-4-2019 and as per EXHIBIT B, Little Flower staff alleged that | did not cooperate in
2019 and 2020 which is completely false and included to prove they deliberately lied to
this court is the email and text message exchanges with Little Flower and ACS that |
compiled the file of all my certificates, reports etc under the direct of ACS after | made
complaint to NYS-OCFS about my son's well being and my innocence in 9-2019.

. Litthe Flower and privy parties failed to prove the best interest of the child because Little
Flower and privy parties refused qualified services, substituted professional expertise for
their remedy to inflict PAS Parental Alienation Syndrome onto the subject child who has
suffered deterioration in and by excessive foster care. Little Flower refused qualified
services that would provide a formulated plan of clinical mental health services and
interventions, per case iaw given in fathers rights to put children in therapy

- In Ronald C v Sherry B the court ordered therapeutic interventions as to the best
interest matter of the twin 10 year oid estranged children who barely knew their
father and as females felt uncomfortable around him after thrusted into visitation,
ithe courts and appeilates have been said to have exerted efforts to support the
biological family and parental rights over adoption.

- In Ronald C v Sherry B the judges discretion was that “generally a child’s best
interest lies in being nurtured by both parents...” and a non custodial parent
should have reasonable rights of visitation unless there is substantial evidence
that visitation would be detrimental to the welfare of the child”

- The court in Ronaid C v Sherry B stated that the expressed wishes of the
children are not determinative. The biological father stayed out of their lives for
the first 10 years to where the court said these children believe this man to be a
stranger to them... while not physically unsafe in his care, they are emotionally
harmed by continuing to force a relationship [with him] because he has now
determined it is time to do so...

- he court said the twins raised legitimate matiers of concern in their in camera
interviews they were still deemed insufficient to terminate petitioners visitation
rights

- Ronald C did not miss visitation and likely did not effort as much as ! did and was
not denied therapeutic visitation

- Inthe Matter of Duane FF. (Hariey GG.) (2016 NY Slip Op 00227) 135 AD3d
1093 the court held that in determining how much contact with [an incarcerated
paren] [is] in the child's best interests, as in any other custody or visitation
analysis, the court [is] required to consider the ‘totality of the circumstances’
(Matter of Garraway v Laforet, 68 AD3d 1192, 1194 [2009], quoting Matter of Eck
v Eck, 33 AD3d 1082, 1083 [2006], including factors such as the age of the child,
the lack or existence of a meaningful relationship between the parent and the
child, the distance and travel time entailed, and the length of the parent's prison
sentence....

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- In Kenneth G. V. Aracelis A. the biological father was incarcerated for over a
decade for a serious offense and the court afforded him twice- monihly
supervised telephonic visitation to help “Kendolyn and her father develop a
comfortable and continuing relationship that will grow over time”. And by requiring
Family Matters Resource Group to provide therapeutic sessions with Kendolyn,
so she will receive the assistance she may need to deal with seeing her father in
prison, and to deai with the host of emotions she may experience as she grows
and learns to understand her father’s criminal history and reasons for his lengthy
incarceration. With compliance to this order, Kendolyn may as a woman in her
30s, choose to take her father by the hand and walk with him down the street.”

10. Little Flower failed to prove the best interest of the child because Little Flower has

11.

refused qualified services and misrepresented “Play therapy” and Barbara Simon to the
ACS and case matter. Qualified services similar to what was ordered in other case iaw
that was not minimal on mentai health services taking part in cases to be supportive
towards children separated from the biological family. Barbara Simon has not formulated
clinical mental health services because she is not qualified and under a clinical status,
whereas clinical mental health services would provide expertise, formulated plan of
clinical mental health known treatment services and interventions, clinical mental health
would determine if all options to reunification of custody was exhausted and best interest
is elsewhere. Littke Flower left the child to no standardized treatment plans such as
Cognitive Behavioral therapy, rational emotive therapy, dialectical behavioral therapy etc
but determined parental alienation as the treatment plan and vulnerability to be isolated
to foster parents who have expressed desire to keep custody irregardless of a court
determination, have had an extreme emotional attachment that caused them to lose
focus of compliance to fostering a child until with love and care until court ordered return
to parent instead they prematurely created an adoptive (when they signed up for foster
parenting and was not in an adoption agency per this case) environment for the child
and not clarifying their status as foster mom and foster dad but as mom and dad while |
was having weekly visits starting that action of theirs in 2015 and confused him because
he called me mom and her spouse dad and was obviously confused about the ordeal
that | explained to him as difference between foster mom and mom etc. Reference
EXHIBIT Y Rachael Hamptons 2015 campaign to hire adoption lawyer Gail
Steinhagen

Little Flower compromised the best interest factor by not formulating a strategy of ability
to transition a child to reunification of custody with a biological parent in unison with a
formulated plan from qualified mental health. The actions, for years, have been the same
systematic presentation to the child that his wants do not matter, no efforts to case
progress the case to unsupervised; discharge occurred which are in order: unsupervised
day visits, weekend overnight stays, trial discharge and case discharge.. Weaning from
foster custody with TRANSITIONAL and other supportive services and mental health
services as needed. All actions of the case discharge was within the official and
individual capacities of defendants and privy parties and not the fault or capacity of this -

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plaintiff who fully cooperated and completed ali successfully or with an equivalent and
within my ability to do so.

12. The plaintiff was afforded bare minimal, controlled to be a superficial, display of rights
given to this plaintiff during the TPR trial proceedings that at various parts of the case
record transcripts the plaintiffs assertions was never taken at face value but was treated
solely as disruptions and reprimanded even when asserted while nobody else was
speaking, even when asserting asking for a moment to be heard and being denied that
and confined to only speak to assigned counsel and how they told me during testimony
how to speak was very limiting and pretentious because some things required
explanation. All of that is on the TPR trial record that began 2-19-2019 until 1-29-2020
and prior since 2-2018.

In response to Ms. Kimunai’s Point 6

1. Factual allegations was provided and not mere legal conclusions in the miscontext
provided by Ms. Kimundi’s legal conclusion assertions, whereas plaintiff provided illegal
conduct actions of defendants that show the pieader is entitled to relief

2. Plaintiff provides in third amended and motion of opposition the response proving fraud
under federal rules and state as having occurred by defendant parties and in accordance
with doctrine on proving fraud, to my ability

3. Per Ms. Kimundi’s defense of Civil action criteria of malicious prosecution must involve
interference with the plaintiffs person or property. Santosky v Kramer proclaims that
child custody matter is far more of an interest than a property right of the biological
parents, and is deemed more than a civil case with loss of money. Younger v Harris
provides 3 categories that attribute civil enforcement proceedings as akin to state
criminal prosecutions where as it was deemed that Family Court CPS cases are civil
enforcement proceedings

4. In per Whelehan, the defendants of this action with exception for David Usdan, have not
acquired or asserted any immunities.

5. Lawyer parties are not in power and authority to constitute being a state actor (under
Rodriguez v Weprin) but ACS; Commissioner and defendants acting in unison to a
fabricated, influenced case conclusion had official and individual capacity, authority to
constitute being state actors and for the aforementioned reasons this case should not be
dismissed

6, Caseparties reported endeavors and lack of reporting, recommending, case working to
ACS Law Dept who acted upon information and lack of that influenced the Family Court
decisions

7. The ACS party was redirected by me in complaints to review the case evidence on
record and pointed out Face value exact wording and ianguage contents whereas ACS
provided arbitrary responses of refusal and malicious prosecution actions. Malicious
prosecution actions are not premature. The actions of the defendants constituted cruel
and unusual punishments inflicted that was in the form of deprivations, refusing to react
to complaint matters, arbitrary decisions, fraud and fabrications all to manipulate the

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case to their win and not allow the case to proceed in its due course to my favor after |
earned the case to proceed in my favor by full cooperations and proofs to my innocence
of the ACS allegations etc

8. The complaint of discrimination is in reliegious discrimination and equal protections
clause value that | have been a practicing muslim since approximately 2002 and have
maintained that orientation where case parties have ridiculed that conduct as weird and
have treated me different than other Americans in providing me with equality in case
dealings that was afforded to Americans of other beliefs.

9. The defendants, all, failed to protect the subject-child in their custody from mental health
deterioration from deprivations of clinical, qualified services and not from this plaintiff
who was under a 2 year no contact and the subject child still deteriorated and kept in
foster care than allowed and condoned that deterioration without seeking out qualified
services that | even wrote them letters in prison and emails when | was released from
prison 2018-2019 telling them exactly who to look for since they had me searching for
my own service plan services and advising them since case start.

in response to Point 7 of Ms. Kimundi’s motion to dismiss

4. All the allegations herein are relevant and supportive to the federal question civil rights
complaint matter cause of action litigation and is contradictory to justice and legal
standard te accept and approve Ms. Kimundi’s weak, baseless argument of
unsubstantiated, highly prejudiced, presence of inflammatory or unfoundedness in
allegations, or sweeping a cover-up victory under pretense of wasting time and judicial
resources in favor of guilty by evidence standards defendant parties.

in response to Ms. Kimundi’s Point 8

4. Plaintiff intends to number the paragraphs and practice better formal documentation
tactics to conform to the Fed. R. Civ. P policies, each to a single set of circumstances
herein and in amended afforded to plaintiff (third).

Wherefore, this plaintiff is seeking that Hon. Broderick does not dismiss my case and gfrants me
all relief that | am eligible for and including leniencies as Pro Se litigant who doesn’t have a bar
license yet or been through all formal trainings.

Dated: April 15th 2020

Respecttully,

Jae Wrobleski, Pro Se Plaintiff

190 Henry Street (st fl
Binghamton, N.Y. 13904
607-621-0884

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EXHIBITS List
EXHIBIT A - 2016 emails and exchanges

EXHIBIT B - 2019 emails, exchanges, reports, etc from pest-release 9-4-2019 until TPR
trial conclusion 1-29-2020

EXHIBIT C - 14-28-2013 Bryan Stuart report

EXHIBIT D - (compiled into EXHIBIT B for the sake of not repeating to the court what was
repeated to the defendant parties) program certificates, Parenting Class book I made,
2013 Service Pian order, MHS reports and testing from CBS clinic in Philadelphia, DBT
certificate and info, etc

EXHIBIT E - 2-3-2015 order reinstating visits, ACS Connections log record

EXHIBIT F - Little Flower’s goal change in agency planning and not court ordered goal
change

EXHIBIT G - signed releases of information throughout the case history

EXHIBIT H - 2006 evaiuation report and letter offering testimony

EXHIBIT | - 2018-2018 complaints evidence, reports of my son’s deteriorated menta!
health condition in 3 phases whereas Little Fiower and ACS refused to give him
supportive, qualified services from outside providers; including my request for OPWDD
intervention (letter from OPWDD)

EXHIBIT J - Rothman email confirmed returning the items to me

EXHIBIT K - 2017 court reports from Sheila Johnson, 7-7-2017 eval, Barbara Simon’s
reports and 2019 diagnosis (located in EXHIBIT | of the reports of my son so as to not
repeat exhibit contents to the court)

EXHIBIT L - prison complaints and response about teddy bear given to Sheila Johnson
EXHIBIT M - letters involving tele visitation and Osborne Association, prison letters
proofs to compliance and reporting (ACS office of Advocacy recognized my books to my

son}, A.R.f letter from Venning and certificates from in prison are in 2019 EXHIBIT B

EXHIBIT N - ASFA of 1997 , Federal Administrative agency determinations FBI and DOJ
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EXHIBIT O - 2018 letters etc and reportings to City/State, Affidavits to the Family Court,
Molinoff, Albert, (OPWDD (in EXHIBIT 1]

EXHIBIT P - 1-29-2020 Termination of Parental Rights Order

EXHIBIT Q - Werchol statement and order to FCMHS not David Usdan specifically, by
Douglas Hoffman

EXHIBIT R - NYC Supreme Court decision, Motion to dismiss from Chlarens Orsland and
my opposition motion

EXHIBIT S$ - David Usdan’s resume

EXHIBIT T - Alan Ravitz resume

EXHIBIT U - Younger Abstention refutation copy from 118 page submitted previous reply
EXHIBIT V - Appellate Division First Department 3-2019 decision

EXHIBIT W - City Comptroller Audit of Little Flower’s funding information subcontracted
to ACS

EXHIBIT X - ACS is an agency from and funded by HHS.gov the Department of Health and
Human Services

EXHIBIT Y - Rachael Hughes-Hampton 2015 campaign to hire adoption lawyer Gail
Steinhagen
